Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 1 of 193




            EXHIBIT 180
            REDACTED
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 2 of 193




                                  1
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 3 of 193




                                  2
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 4 of 193




                                  3
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 5 of 193




                                  4
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 6 of 193




                                  5
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 7 of 193




                                  6
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 8 of 193




                                  7
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 9 of 193




                                  8
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 10 of 193




                                   9
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 11 of 193




                                  10
     Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 12 of 193




           Re: Near Near Final SOC8 Hormone Chapter 1 week review
           From:
           To:
           Cc:
                                        HormoneSOC8 <hormonesoc8@wpath.org>
           Date:    Thu, 04 Nov 2021 23:31:28 -0400

           Regarding           comments on my suggestions - it is unclear how suggestions to be more inclusive
           result in a loss of meaning. I want to push back against the idea that being precise by adding endosex
           will not be understood, as we can add a footnote definition or another way to make sure the meaning
           is not lost. I would steer VERY clear from the word 'typical' when you mean endosex, i.e., not intersex.
           This is the same pushback against using cisgender which has now become a commonly understood
           word.

           I agree that estrogen and testosterone based regimens are not precise but they are certainly better
           than masc/fem which creates yet another binary. I also agree that the regimens we prescribe are not
           based on labels or identity, but rather the individual's embodiment goals which we are referring to in
           the chapter. Does anyone have an alternative language suggestion?




           CONFIDENTIALITY NOTICE:
           The information in this e-mail may be confidential and/or
           privileged. If you are not the intended recipient or an
           authorized representative of the intended recipient, you
           are hereby notified that any review, dissemination, or
           copying of this e-mail and its attachments, if any, or
           the information contained herein is prohibited. If you
           have received this e-mail in error, please immediately
           notify the sender by return e-mail and delete this e-mail
           from your computer system. Thank you.



           On Mon, Nov 1, 2021 at 10:08 AM                                                 wrote:

             Most of the edits look great.



             A couple of comments regarding          suggestions to be more inclusive that I think result in a loss
             of meaning. Re the "female" and "male" terms for ranges for hormones, puberty, etc.: I worry that
             endosex will not be understood. Perhaps "typical" could be a qualifier that is more inclusive but
             also clearer to a broader audience. Ditto for qualifying cis and cisgender where needed.




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                               BOEAL_WPATH_026200




                                                              11
     Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 13 of 193




            Re language to avoid saying masculinizing and feminizing, I think the suggested edits are not
            precise. They aren't necessarily estrogen or testosterone regimens. We are moving people in
            one direction or another on various spectra — and those are the words for the directions — which
            are binary on some spectra. What's not binary is the degree of movement. I can't think of clearer
            words for that. Someone non-binary identifying who comes in for medical care is still usually
            looking for a regimen that adds to typical male or typical female features. And that is how we label
            the treatment. It's not all or none of course ... very customized and completely independent of
            how someone labels themselves.




            From:
            Date: Sunday, October 31, 2021 at 7:50 PM
             To:
             Cc:
                                                 HormoneSOC8 <HormoneSOC8@wpath.org>
            Subject: Re: Near Near Final SOC8 Hormone Chapter 1 week review



                                                USE CAUTION: External
                                                Message.

             Here are my edits - using the draft =sent.



             There are several language nuances that I want to make sure we are consistent about - some are
             in regard to excluding nonbinary people and others are excluding intersex people - when we are
             not intending to do so.



            Also, goodness, "an early pubertal designated male at birth" is not only a confusing mouthful, but
            also ends up misgendering the person by using the term male to refer to them. So I came up with:
            'a TGD adolescent with functioning testes in the early stages of puberty." There are similar edits I
            made in order to keep things consistent and clear.



                   I only made edits that I thought were critical.



             Thanks




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                             BOEAL_WPATH_026201




                                                                 12
     Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 14 of 193




            CONFIDENTIALITY NOTICE:
            The information in this e-mail may be confidential and/or
            privileged. If you are not the intended recipient or an
            authorized representative of the intended recipient, you
            are hereby notified that any review, dissemination, or
            copying of this e-mail and its attachments, if any, or
            the information contained herein is prohibited. If you
            have received this e-mail in error, please immediately
            notify the sender by return e-mail and delete this e-mail
            from your computer system. Thank you.




             On Sun, Oct 31, 2021 at 3:36 PM
                                           wrote:

               Hi everybody,



               Great to see that we are in the final stretch!



               I made some edits as well, including to table 2 regarding hypertension and CV risk.



               There were several references missing on the list which I added. Please check to see that they
               are correct.



               Happy Halloween to those who celebrate it. C.%)




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                           BOEAL_WPATH_026202




                                                                13
     Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 15 of 193




              From:
              Sent: Sunday, October 31, 2021 10:39 AM
              To:
              HormoneSOC8 <HormoneSOC8©wpath.orq>
              Subject: [External] Re: Near Near Final SOC8 Hormone Chapter 1 week review



              Hi•     hi all,



              See attached for some recent reference additions, and some minor changes in the text.



              1 reference was missing in the reference list.



              All the best,




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                        BOEAL_WPATH_026203




                                                               14
     Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 16 of 193




              Van:
              Verzonden: vrijdag 29 oktober 2021 23:53:22
              Aan: "Mil            HormoneSOC8
              Onderwerp: Re: Near Near Final SOC8 Hormone Chapter 1 week review



              Looks great.



              A trivial tweak: The first sentence of the first paragraph of text under the first recommendation
              should end "... sex recorded at birth." Or "... sex designated at birth." I know           want the
              latter.



              I also added a few references:



                   1. The new primary reference for the trans man who had his egg harvested while still
                      taking testosterone for successful childbirth.
                   2. My review in JCI of the concerns raised by =or recommendation #11.
                   3. The new primary reference for the Sinai study where we found no difference in VTE risk
                      between trans people suspending versus maintaining gender affirming hormone Rx
                      throughout the peri-surgical period (notably estrogens for primary vaginoplasty).




              From:
              Date: Friday, October 29, 2021 at 8:20 AM
              To: HormoneSOC8 <HormoneSOC8Awpath.org>
              Subject: Near Near Final SOC8 Hormone Chapter 1 week review




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                             BOEAL_WPATH_026204




                                                            15
     Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 17 of 193




              Dear Hormone Chapter Members,
              We are almost at the finish line! The chapter has undergo reference checkers,
              language editing and review by the co-chairs. This is almost ready to be
              finalized.



              Please see the attached draft that will be finalized shortly. Here are some
              instructions.
                  1. Please review and add any KEY references to sentences that you think
                     needs additional references. There have been some important papers
                     published this year so we may have missed some. I have not heard of
                     any limit of publication date.
                  2. If there is an error, please flag it. Some of the editing may have changed
                     the meaning of a sentence. Please suggest a rewording of the sentence.
                     Please leave the "light editing" for the journal. We are looking for major
                     edits where meaning has inadvertently changed.
                  3. We need these back by November 8. The deadline will not be extended.
                     You have already seen many versions of this so hopefully it will not take
                     too long. I might suggest looking at the statements first then your
                     sections then the other sections.
                  4. Please use "Tracked changes"

              Thank you very much




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                              BOEAL_WPATH_026205




                                                    16
     Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 18 of 193




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                      BOEAL_WPATH_026206



                                             17
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 19 of 193




                                  18
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 20 of 193




                                  19
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 21 of 193




                                  20
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 22 of 193




                                  21
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 23 of 193




                                  22
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 24 of 193




                                  23
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 25 of 193




                                  24
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 26 of 193




                                  25
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 27 of 193




                                  26
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 28 of 193




                                  27
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 29 of 193




                                  28
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 30 of 193




                                  29
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 31 of 193




                                  30
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 32 of 193




                                  31
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 33 of 193




                                  32
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 34 of 193




                                  33
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 35 of 193




                                  34
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 36 of 193




                                  35
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 37 of 193




                                  36
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 38 of 193




                                  37
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 39 of 193




                                  38
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 40 of 193




                                  39
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 41 of 193




                                  40
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 42 of 193




                                  41
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 43 of 193




                                  42
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 44 of 193




                                  43
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 45 of 193




                                  44
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 46 of 193




                                  45
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 47 of 193




                                  46
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 48 of 193




                                  47
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 49 of 193




                                  48
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 50 of 193




                                  49
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 51 of 193




                                  50
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 52 of 193




                                  51
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 53 of 193




                                  52
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 54 of 193




                                  53
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 55 of 193




                                  54
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 56 of 193




                                  55
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 57 of 193




                                  56
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 58 of 193




                                  57
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 59 of 193




                                  58
      Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 60 of 193




           Re: question for the surgeons
           From:    Eli Coleman <drelii
           To:      Jon Arcelus <jon.arcelu
           Cc:      Scott Leibowitz <scottleibowitzm               lorenschechtei                       Stan Monstre
                    <stan.monstre                Annelou Devries <alc.devrie                   , asa.radi
                    vtangpr
           Date:    Wed, 06 Oct 2021 09:00:21 -0400

           at their age - they would not know what they want - but I think the same informed consent as we do for
           reproductive health.

           On Wed, Oct 6, 2021 at 7:56 AM Jon Arcelus <Jon.Arcelus                              wrote:
            This is something that Marci mentioned in the Gothenburg meeting and then she spoke to you,
            Scott about it too, I believe. It will make sense if is not there to add information which will be clinical
            more than academic regarding the effect of starting on blockers in early puberty on the type of
            surgery for vaginoplasty that they will be able to have in the future with more possible
            complications from it (if using the colom), but of course not every tranwoman wishes vaginoplasty

             Prof. Jon Arcelus Alonso, MD, PhD
             Professor (Full) of Mental Health and Transgender Health

             Honorary Consultant in Transgender Health
             Associate Editor of the International Journal of Transgender Health (IF 5.33)
             Co-Chair of the Standards of Care 8th Edition (World Professional Association of Transgender Health-
             WPATH)

             Academic Address:




             Clinical Address:




             Academic secretary:
             From: Eli Coleman <dreli
             Sent: Wednesday, October 6, 2021 2:49:43 PM
             To: Scott           <scottleibowitzm
             Cc: Loren'          Iorenschecht              ; Stan Monstre
             <stan.monstrellEMI; Vries, A.L.C. de                                          Jon Arcelus
                                                 ASA RADIX <asa.radi                          ; Tangpricha, Vin
             <vtan
             Subject: Re: question for the surgeons

             I think so. I don't know what the evidence base is for this - but it seems that there is a concern and
             might need to be part of informed consent.

             On Wed, Oct 6, 2021 at 7:41 AM Scott Leibowitz <scottleibowitzmd                       wrote:




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                                   BOEAL_WPATH_105025


                                                               59
      Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 61 of 193




              Thank you. Do you think it is important to address?

              Sent from my iPhone


                On Oct 6, 2021, at 8:32 AM, Loren'sMlorenschechterill                         wrote:


                Hello Scott

                I have seen the article (and spoken with Marci)

                We do not specifically address the impact of gnrh agonists on surgery. We do discuss the
                multidisciplinary approach when considering surgery on adolescents

                Thanks

                Loren

                Sent from my iPhone


                  On Oct 6, 2021, at 6:53 AM, Scott Leibowitz <scottleibowitzmd                   wrote:




                  Hi all,



                  Something tells me we are all aware of this article:

                  https://bariweiss.substack.com/p/top-trans-doctors-blow-the-whistle



                  In it, there are concerns about the surgical implications of blockers from WPATH
                  leadership, and this has made its way across the airwaves with responses indicating
                  that the SOC is addressing this issue. However, this is something that we currently do
                  not address in our chapter since there's no specific research article to cite on the
                  subject. That being said, it's a rather large point of discussion, and I believe it's an
                  unavoidable subject that really does need to be addressed. Personally I think that
                  discussing the hypothetical risks of blockers, including the potential effect on surgical
                  outcomes and sexual health, is something that should be mentioned when getting
                  consent from parents/caregivers for use of blockers. I know that I do this when
                  working with families and it is greatly appreciated by families.



                  Not having seen the surgery chapter, I want to double check if it is in that chapter. If
                  not, how do we envision SOC addressing this- in the Adol chapter?



                  Thanks all,




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                              BOEAL_WPATH_l 05026


                                                           60
      Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 62 of 193




                  Scott




                     Eli Coleman, PhD.
                     Academic Chair in Sexual Health
                     Professor
                     and Director
                     The Institute for Sexual and Gender Health
                     University of Minnesota Medical School
                     Family Medicine and Community Health
                     sexualhealth.=flied u




            This message and any attachment are intended solely for the addressee
            and may contain confidential information. If you have received this
            message in error, please contact the sender and delete the email and
            attachment.

            Any views or opinions expressed by the author of this email do not
            necessarily reflect the views of the University of Nottingham. Email
            communications with the University of Nottingham may be monitored
            where permitted by law.




                   Eli Coleman, PhD.
                   Academic Chair in Sexual Health
                   Professor and Director
                   The institute for Sexual and Gender Health
                   University of Minnesota Medical School
                   Family Medicine and Community Health
                   sexualhealthwmn.edu




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                          BOEAL_WPATH_105027


                                                                  61
      Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 63 of 193




           Re: Friday Agenda for Mental Health Mentors/Anything else
           to add?/ REQUEST TO RECORD
           From:    Lin Fraser <linfrase
           To:      dber
           Cc:

           Date:    Wed, 13 Oct 2021 01:28:42 -0400

           Dear

           Can you please be prepared to record Friday's meeting?

           We will check at the beginning of the meeting to make sure that no one objects.

           I am happy to check with EC unless you would like to do so.

           Best,

           Lin




             On Oct 12, 2021, at 10:22 PM, Dianne Berg <dberg                   wrote:

             I have been followin this thread from afar
                                                                                     He has terrible internet
             and the hotspot on my phone is not always reliable. I really want to be able to be at this meeting
             but may not be able to be fora variety of reasons so I hope it can be recorded.
             Take care everyone,
             Dianne

                       Dianne Berg, PhD LP, (she/her)
                       Assistant Professor
                       The Institute for Sexual and Gender Health
                       Co-Director, National Center for Gender Spectrum Health
                       Coordinator, Child and Adolescent Gender Services, Center for Sexual Health
                       University of Minnesota Medical School
                       Family Medicine and Community Health
                       sexualhealth.umn.edu
                       dber.
                         WPATH GEI SOC7 Certified Mentor
                         AASECT Certified Sex Therapist and Sex Therapy Supervisor

                        "Our lives begin to end the day we become silent about things that matter."
                         --MLK Jr.

                         "Light will move through broken places. Soften the edges of empty spaces."
                          --the album Book of Rounds by October Project




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                             BOEAL_WPATH_105071


                                                                    62
      Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 64 of 193




             On Tue, Oct 12, 2021 at 6:19 PM                                           wrote:
              I'm not clear on which "agreement regarding the value of blockers" is required to be espoused
              by a WPATH member/mentor.

               My understanding is that a global consensus on "puberty blockers" does not exist.


                                                    wrote:
                 Yeppp,

                 And have something to say about that as well, but will defer until Friday Ift)©




                 The previous and this current e-mail and any files transmitted with it are confidential and
                 intended solely for the use of the individual or entity to whom they are addressed. If you
                 have received this email in error please notify the system manager. This
                 message contains confidential information and is intended only for the individual named. If
                 you are not the named addressee you should not disseminate, distribute or copy this e-
                 mail. Please notify the sender immediately by e-mail if you have received this e-mail by
                 mistake and delete this e-mail from your system. If you are not the intended recipient you
                 are notified that disclosing, copying, distributing or taking any action in reliance on
                 the contents of this information is strictly prohibited.


                 On Oct 12, 2021, at 3:55 PM,                                         wrote:


                 No argument                with what you said

                 My point was I think all of us are (generally) in agreement
                 regarding the value of blockers. It is well-worth our time, of course,
                 to be knowledgeable about the research and be able to back up our
                 experience with research. I have in my professional life lots of
                 time/experience with that part of this process.

                 What I personally have much less of (because so much time is
                 caught up in the stuff above) is talking with colleagues about how
                 to respond to "sloppy" clinical work by my peers. That's what I




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                            BOEAL_WPATH_105072


                                                             63
      Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 65 of 193




                thought was so brave about Marci and Erica's very public
                statements (and I have spoken with both of them privately about
                this for many years).

                Do we agree that some folk are doing "sloppy" work (that would
                not be my language btw), and if so, what (if anything) is my
                responsibility in this ... or WPATHs. I could use support in
                knowing how to manage this.



                                                      wrote:
                 Just making sure, that's all - since the term sloppy was used by one of the
                 interviewees.

                 By the same token, stating that "blockers are good," is not enough. There has already
                 been an alarming lack of precise statements that landed us all in this pickle in the first
                 place; when mentees come to us with questions, it's not just where to find the answers,
                 but also being comfortable discussing them. This means leaning on verified data in
                 peer reviewed papers and knowing what's in them.

                 Not sloppy = accurate,




                 The previous and this current e-mail and any files transmitted with it are confidential
                 and intended solely for the use of the individual or entity to whom they are addressed. If
                 you have received this email in error please notify the system manager. This
                 message contains confidential information and is intended only for the individual
                 named. If you are not the named addressee you should not disseminate, distribute or
                 copy this e-mail. Please notify the sender immediately by e-mail if you have received
                 this e-mail by mistake and delete this e-mail from your system. If you are not the
                 intended recipient you are notified that disclosing, copying, distributing or taking any
                 action in reliance on the contents of this information is strictly prohibited.


                 On Oct 12, 2021, at 2:56 PM,                                           wrote:


                 Did something I say infer that I wanted to talk about either
                 Marci or Erica specifically?
                 That was not my intention.




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                            BOEAL_WPATH_105073


                                                          64
      Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 66 of 193




                 My intention was to suggest we discuss what is good healthcare
                 and what is subpar. And what position we take as mentors in our
                 community regarding the topic

                 On Tue, Oct 12, 2021 at 5:13 PM
                                                       wrote:
                   Well,

                   I expect my fellow mentors not to discuss Marci or Erica but instead come up with
                   science based facts re blockers.

                   Just arguing that blockers are good - it's not enough.

                   Best,




                   The previous and this current e-mail and any files transmitted with it are confidential
                   and intended solely for the use of the individual or entity to whom they
                   are addressed. If you have received this email in error please notify the system
                   manager. This message contains confidential information and is intended only for
                   the individual named. If you are not the named addressee you should
                   not disseminate, distribute or copy this e-mail. Please notify the sender immediately
                   by e-mail if you have received this e-mail by mistake and delete this e-mail from
                   your system. If you are not the intended recipient you are notified that disclosing,
                   copying, distributing or taking any action in reliance on the contents of this
                   information is strictly prohibited.


                   On Oct 12, 2021, at 2:07 PM,                                           wrote:


                   S0000
                   I bulleted those issues because that's kinda how my brain
                   works, to separate out all the issues on the table. I was not
                   necessarily making an agenda

                   I *think* (generally speaking) the first issue is not really an
                   issue for our group. We all know that blockers are a good
                   thing for some kids, and we know that ROGD is not a "thing."

                   I personally would like to discuss the issue of "sloppy
                   healthcare" (being called out on this, being called out by "one
                   of our own," and the difficulty in discussing the topic of what




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                            BOEAL_WPATH_105074


                                                          65
      Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 67 of 193




                   constitutes competent healthcare that is also affirming) and
                   what our work is as competent affirming therapists to ensure
                   that our colleagues are practicing at the highest level (or is
                   that part of our job as colleagues or WPATH members, or
                   WPATH representatives?).
                   I think this is the core issue(s) for us to wrangle with.

                   And I am happy to give examples of things I've seen that are
                   problematic if y'all think that will be helpful.

                   I also think the issue of cis versus (not the best word) trans
                   voices will likely become relevant.

                   Best




                          • The actual challenges/issues/concerns re: blockers/hormones
                          • Media representation and what we say or do not say publicly versus with our
                            colleagues
                          • How WPATH "looks" in the news, and our responsibilities as members and
                            mentors to that process
                          • Developing more sophisticated treatment approaches as well as media
                            representation that stops this "them/us" dynamic that is what all US politics are
                            about right now
                          • Addressing the issue raised about "sloppy healthcare" in this field and what is and
                            is not evidence-based care.
                          • Space to discuss controversy without "canceling" humans with diverse opinions.


                   On Tue, Oct 12, 2021 at 2:07 PM Lin Fraser <                              > wrote:
                    Dear Mental Health Mentors,

                    Please let me know other topics/cases for discussion so we can be thinking about our
                    agenda in advance. Please be discreet. Note the statement that just came out today from
                    WPATH/USPATH Boards about keeping our discussions within WPATH.

                     I think   list below sunmtarized the issues quite nicely, but we had other
                     recommendations.

                     It would be good if we could discuss cases that demonstrate some of these issues.


                            • The actual challenges/issues/concerns re: blockers/hormones
                            • Media representation and what we say or do not say publicly versus with our
                              colleagues




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                                  BOEAL_WPATH_105075


                                                             66
      Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 68 of 193




                          • How WPATH "looks" in the news, and our responsibilities as members and
                            mentors to that process
                          • Developing more sophisticated treatment approaches as well as media
                            representation that stops this "them/us" dynamic that is what all US politics are
                            about right now
                          • Addressing the issue raised about "sloppy healthcare" in this field and what is
                            and is not evidence-based care.
                          • Space to discuss controversy without "canceling" humans with diverse
                            opinions.


                    And what else? Does anyone have a different kind of mentor case?

                    And keep in mind that we will have an hour and a half.

                    Many thanks,

                    Lin

                    Dr Lin Fraser EdD




                    Past President, World Professional Association for Transgender Health (WPATH)
                    Co-Chair, Ethics Committee (WPATH)
                    Co-Founder, Course Developer, Trainer & Lead, Mental Health Mentor Program; Global
                    Education Institute, (GEI)
                    Board Certified TeleMental Health Provider
                    MFT8288/LPCC1816/BC-TMH1320




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                 BO EAL_WPATH_l 05076


                                                           67
      Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 69 of 193




                   "The paradox of education is precisely this - that as one begins to become
                   conscious one begins to examine the society in which he is being educated. " James
                   Baldwin

                   "Keep looking at the bandaged wound. That's where the light enters you." Rumi


                   PLEASE NOTE: The confidentiality of email cannot be secured because the internet
                   is not a secure medium. Please use at your discretion. This fax/e-mail transmission,
                   with accompanying records, may contain Protected Healthcare Information and is
                   intended only for the use of the individual or entity to which it is addressed subject
                   to the privacy and security provisions of HIPAA. If you are not the intended
                   recipient, be advised that any unauthorized use, examination, analysis, disclosure,
                   copying, dissemination, distribution or sharing of this communication is strictly
                   prohibited, except as permitted by law. If you have received this in error, please
                   delete the message and contact the sender at the address/phone number.




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                           BOEAL_WPATH_105077


                                                         68
      Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 70 of 193




                 "The paradox of education is precisely this - that as one begins to become conscious
                 one begins to examine the society in which he is being educated. " James Baldwin

                 "Keep looking at the bandaged wound. That's where the light enters you." Rumi


                 PLEASE NOTE: The confidentiality of email cannot be secured because the internet is
                 not a secure medium. Please use at your discretion. This fax/e-mail transmission, with
                 accompanying records, may contain Protected Healthcare Information and is intended
                 only for the use of the individual or entity to which it is addressed subject to the privacy
                 and security provisions of HIPAA. If you are not the intended recipient, be advised that
                 any unauthorized use, examination, analysis, disclosure, copying, dissemination,
                 distribution or sharing of this communication is strictly prohibited, except as permitted
                 by law. If you have received this in error, please delete the message and contact the
                 sender at the address/phone number.




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                              BOEAL_WPATH_105078


                                                           69
      Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 71 of 193




                "The paradox of education is precisely this - that as one begins to become conscious one
                begins to examine the society in which he is being educated. " James Baldwin

                "Keep looking at the bandaged wound. That's where the light enters you." Rumi


                PLEASE NOTE: The confidentiality of email cannot be secured because the internet is not
                a secure medium. Please use at your discretion. This fax/e-mail transmission, with
                accompanying records, may contain Protected Healthcare Information and is intended only
                for the use of the individual or entity to which it is addressed subject to the privacy and
                security provisions of HIPAA. If you are not the intended recipient, be advised that any
                unauthorized use, examination, analysis, disclosure, copying, dissemination, distribution or
                sharing of this communication is strictly prohibited, except as permitted by law. If you have
                received this in error, please delete the message and contact the sender at the
                address/phone number.




              Create your own email signa ure




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                            BOEAL_WPATH_105079


                                                           70
      Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 72 of 193




           Re: "Science Vs" Cited Seven Studies To Argue There's No
            Controversy About Giving Puberty Blockers And
            Hormones To Trans Youth. Let's Read Them.
           •

           From:     Eli Coleman
           To:       "Vries, A.L.C. de"
           Cc:       marcib                        Scott Leibowitz                                   US
                                                            , wal -
                     asa.radix                    Cindi Creager

           Date:       on,       un            :32:41 -0400

           Try to write a short paragraph. That couild be a start.

           Eli

           On Mon, Jun 13, 2022 at 5:19 AM Vries, A.L.C. de                               wrote:
            The point is; it is not only about research evidence (so research will never persuade
            everyone), but also about ethics (what is good care), transgender and children's rights
            and politics (I).

             Very complex how to adress all these best.

             Annelou

             Annelou      de    as, MD. PhD
             Child and adolasc
             Depart         C                 , sychi-   m na Pediatric Hospital, G8-136
             center         tis on Ge,                   , Poli N
             Cant           , orlzmir                      --Int °curl...intr./




             Van: Eli Coleman
             Verzonden: zondag 12 juni 2022 19:37
             Aan: Dr. Marci Bowers
             CC: Vries A.L.C. de <                            Scott Liebowitz
                                                 elus                                       walter
             bouman                              >. Asa Radix

             Onderwerp: Re: "Science Vs" Cited Seven Studies To Argue There's No Controversy
             About Giving Puberty Blockers And Hormones To Trans Youth. Let's Read Them.

             I think it would be good for WPATH to convene a research summit to address the research needs
             and find a way to develop some research studies and incentivize people to conduct more
             outcome-based research.




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                        BO EAL_WPATH_105441


                                                                      71
      Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 73 of 193




            Eli

             On Sun, Jun 12, 2022 at 12:34 PM Dr. Marci Bowers <                                 wrote:
              Interesting but highlights the difficulty in picking an endpoint for therapeutic efficacy and use of
              early puberty blockade— is it....
              A. Reduction in suicidality? Difficult to prove
              B. Improvement in psychosocial functioning? Easier to prove but at what cost.... As we learn
              more about the difficulties associated with confirming surgeries, adulthood and longterm
              happiness.

               Ultimately, we must regain scientific credibility by objectively tracking outcomes, intended or not
               even if we discover problems with our original hypothesis.

               Kindly

               Marci Bowers MD
               WPATH President-elect
               Trevor Project Board of Directors




               Standing tall in times of darkness


                  On Jun 12, 2022, at 6:11 PM, Eli Coleman <IMIl                lwrote:




                  If you have not seen...

                          Forwarded message
                  From:
                  Date: Fri, Jun 10, 2022 at 6:15 PM
                  Subject: "Science Vs" Cited Seven Studies To Argue There's No Controversy About Giving
                  Puberty Blockers And Hormones To Trans Youth. Let's Read Them.
                  To:




                  https://jessesingal.substack.com/p/science-vs-cited-seven-studies-to?s=r


                  "Science Vs" Cited Seven Studies To
                  Argue There's No Controversy About
                  Giving Puberty Blockers And Hormones To
                  Trans Youth. Let's Read Them.
                  The show is strikingly selective in its skepticism




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                BOEAL_WPATH_105442


                                                              72
      Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 74 of 193




                Jesse Sinoal7 hr ago




                I was only able to do this work, which is very resource-intensive, because of my paying
                subscribers. If you find this article at all useful, please consider becoming one:

                Give a gift subscription




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                           BOEAL_WPATH_105443


                                                            73
      Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 75 of 193




                Science Vs, a leading science journalism podcast produced by Gimlet, is dedicated to
                cutting through misinformation and politicization and delivering its listeners the truth. The
                show "takes on fads, trends, and the opinionated mob to find out what's fact, what's not,
                and what's somewhere in between."

                In March, it published an episode called "Trans Kids: The Misinformation Battle' that
                seriously misled listeners about the quality of the evidence for youth gender medicine —
                that is, puberty blockers and cross-sex hormones. Worse, the show engaged in some
                rather irresponsible fearmongering on the subject.

                The exchange in question came during a conversation between host Wendy Zukerman
                and psychiatrist Jack Turban, who is one of the most commonly quoted and enthusiastic
                advocates for youth gender medicine. It originally went like this, iccordina to the show's
                transcript, with the discussion between Zukerman and Turban set in italics and points
                where Zukerman is addressing listeners directly set in plain text:

                   [Zukerman:] So overall, hormones have some risks, and they're not easily reversible
                   — but the top dogs in this space, they're all on board with this — not only hormones
                   but puberty blockers too.-

                   [Turban:] American Medical Associationr1151, the American Academy of
                   Pediatrics[116], the American Psychiatric Association[117], the American Academy of
                   Child and Adolescent Psychiatry[1181, I could go on and on

                   [Zukerman:] Not controversial at all?

                   [Turban:] No

                   [Zukerman:] And the reason that it's not controversial is because — again — we need
                   to look at what happens if you do nothing. Like you don't allow your kid to go on
                   hormones. And just last month - a study from Seattle was published looking at just
                   this. It had followed about 100 young adults, and compared those who got this
                   gender affirming care - to trans folks who didn't.[1191And they found that while those
                   who got this treatment ultimately felt better afterwards,f1201those who didn't felt
                   worse and worse.11211. And by the end of the study, those who got gender affirming
                   care were 73% less likely to have thoughts of killing themselves or hurting
                   themselves.11221 Other research suggests the same
                   thing.11231[1241[125il1261[1271[1281




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                               BO EAL_WPATH_105444


                                                            74
      Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 76 of 193




                Let's linger on this for a moment. These treatments are utterly uncontroversial, Zukerman
                said, because of "what happens if you do nothing. Like you don't allow your kid to go on
                hormones." Following that was a summary of a recent study that — Zukerman claimed —
                found that access to gender-affirming medicine (henceforth GAM) led to reduced
                suicidality among young adults1.

                Zukerman is clearly saying that if you, the parent listening, have a kid who wants to go on
                hormones, and you don't put them on hormones, you risk raising the probability they will
                become suicidal and/or attempt suicide. This is a profoundly serious claim — an invocation
                of every parent's worst nightmare — so one would hope that it's backed by nothing but
                ironclad evidence.

                But that isn't the case. The study Zukerman referenced, which was published in a JAMA
                Network Open study by PhD student Diana Tordoff and her colleagues in February, didn't
                come close to finding what its authors claimed. I explained its many crippling flaws here in
                April — the post is long, but if you want to understand how aggravating it is that
                mainstream science outlets are treating this research so credulously, you should read it.
                The short version is that, in a sample of kids at a gender clinic, those who went on GAM
                didn't appear to experience any statistically significant improvement on any mental health
                measure (here's a primer on what "statistically significant" means — it is going to come up
                a lot in this article). So Zukerman's claim that "those who got this treatment ultimately felt
                better afterwards" was completely false, directly contradicted by the paper's
                supplementary material.

                In early May, Robert Guttentaq, a UNC—Greensboro psychologist, bcc'ed me on a
                thoughtful email he sent to the show's producers highlighting what he viewed as flaws with
                the episode. I forwarded the email to the show to make sure the producers saw it, and
                argued that they had badly misrepresented the Tordoff study. To the show's credit, later in
                the month I got an email from the "Science Vs Team" in which they acknowledged they'd
                made an error: "We now realize we had misread the paper — which had found a
                difference between the treatment group and the control group, not a significant change
                before and after the treatment. We have adjusted the study description in our episode[.]"

                Unfortunately, they also said they stood by the idea that this is a quality study that adds to
                the evidence base for youth gender medicine: "Thanks for bringing this to our attention.
                We chose to call out this paper because, while it isn't perfect, it had some advantages to
                other studies looking at this. For example, it had a control condition and followed patients




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                               BOEAL_WPATH_105445


                                                             75
      Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 77 of 193




                prospectively rather than retrospectively. Because it's replicating the beneficial effect of
                gender-affirming healthcare that several other studies have found, we feel confident about
                the take-away overall."

                I'm glad the show issued a partial correction, but this is still dismaying. First, it's worrisome
                that the Science Vs team thinks there was a genuine "control condition" in the Tordoff
                study that makes it stronger than previous research on the subject. There really wasn't. It
                was a 12-month study that started with 104 kids, but by the final follow-up a grand total of
                seven kids were left in the no-medicine group:




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                                 BO EAL_WPATH_105446


                                                             76
      Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 78 of 193




                As I noted at the time, "Overall, according to the researchers' data, 12/69 (17.4%) of the
                kids who were treated left the study, while 28/35 (80%) of the kids who weren't treated left
                it." The authors offer no explanation as to why this was the case, no explanation why some
                kids went on blockers or hormones and others didn't, and little reason for us to trust that
                any observed differences between the groups are attributable to accessing GAM rather
                than any of a host of other potential confounding factors. (In the course of writing this post,
                I noticed that I myself called the no-medicine kids a "control" group once in my April write-
                up, which was a mistake, but I just fixed it.)

                The headline difference between the two groups' outcomes — which really boiled down
                not to the treatment group improving but to the non-treatment group supposedly getting
                worse — was generated by highly questionable methodological choices, as I detailed at
                length. When I asked a leading expert on the specific statistical technique the authors
                used about this paper, he professed surprise they'd employed this technique, and raised a
                separate, potentially significant problem with their statistical model (basically, that the
                model factored in data from 17 kids — almost a fifth of the initial sample — who showed
                up at the clinic one time for an initial assessment and then dropped out of the study,
                despite the fact that their data can't tell us anything about anything since the subjects
                weren't tracked overtime).

                Again, see my post for all the details, but the majority of these points are fairly basic and
                don't require much statistical sophistication to understand. This is an extremely weak
                study, and it definitely doesn't have anything like a "control group" in the traditional sense.
                It isn't a stretch to claim that it tells us nothing about the question at hand, other than that,
                according to the researchers' own methods, kids who went on blockers and/or hormones
                in this particular clinical sample did not get less suicidal, depressed, or anxious overtime.
                That's a small, useful nugget of knowledge to add to our understanding of this issue, but
                it's not an encouraging one for advocates of youth gender medicine.

                The authors are quite opaque about their methods, and we could better understand what
                they found (and didn't find) if they would share their data. That would allow other
                researchers to poke around, see which of their findings are robust to different
                methodological choices, and so on. Tordoff claimed in an email to me that her team
                "provided the raw data in the supplement for transparency," but when I emailed her back to
                point out that no, the data weren't available online, she stopped responding. A
                spokesperson for her university, the University of Washington—Seattle, subsequently
                confirmed to me that her team refused to share its data.




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                                 BOEALWPATHl 05447


                                                              77
      Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 79 of 193




                Despite all this, Science Vs continues to present this study to the public as solid recent
                evidence for the efficacy of puberty blockers and hormones. That's bad and misleading
                science communication — irresponsible, I'd argue, given the seriousness of the subject
                and given Zukerman's scary claim about the ramifications of not allowing kids to go on
                youth gender medicine. This study absolutely does not provide us with anything like a
                clean, statistically tenable comparison between kids who did and didn't go on blockers or
                hormones.

                Part of Science Vs's argument for accepting the study despite its shortcomings is that it is
                "replicating the beneficial effect of gender-affirming healthcare that several other studies
                have found." (Tordoff has claimed similarly: "Our study builds on what we have already
                seen from an already staggering amount of scientific research," she told an outlet called
                Healthday News. "Access to gender-affirming care saves trans youth's [sic] lives.") This
                clashed with my own understanding of the evidence base here, at least when it comes to
                decently rigorous research, so it made me wonder about Science Vs's overall approach to
                the issue. What studies did the show's producers read that make them so confident that
                there's a clear consensus here? I decided to take a close-bordering-on-obsessive look at
                the research in question.

                As you can likely already tell, this is going to be a long post. My goal when I go this deeply
                on a subject is to produce work that will be useful and durable. Hardly anyone has closely
                compared the claims surrounding youth gender medicine to the research itself to see
                whether the two match. Science Vs offers us a useful opportunity here, because it's a
                show that prides itself on its accuracy and rigor, and because (as we'll see) it takes an
                admirably transparent approach that makes this sort of exercise easier.

                If this article is too long for a lot of potential readers, so be it — it's here if and when you
                find it useful, and I don't think this issue is going away anytime soon.


                But First, A Word On The "Top Dogs"

                (This section is completely skippable if you are interested only in the question of what
                studies Science Vs used to support its claim that youth gender medicine is uncontroversial
                and what those studies actually say.)

                I don't want to be accused of ignoring Zukerman's claim that the "top dogs" are all on
                board with youth gender medicine. After all, if all the experts really are on the same page
                about this, and have done their homework, I could be accused of nitpicking if I found




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                                  BO EAL_WPATH_105448


                                                              78
      Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 80 of 193




                weaknesses with Science Vs's specific choices of study citations. Maybe there are a
                bunch of other studies, cited by the major authorities in this space, that do show there's no
                controversy here.

                Here's what Science Vs said about those top dogs and the citations it used to defend its
                claims:

                   [Zukerman:] So overall, hormones have some risks, and they're not easily reversible
                   — but the top dogs in this space, they're all on board with this — not only hormones
                   but puberty blockers too.-

                   [Turban:] American Medical Associationr1151, the American Academy of
                   PediatricsL1161, the American Psychiatric Association[1171, the American Academy of
                   Child and Adolescent Psychiatry[1181, I could go on and on

                In my experience, this is a common response to anyone who expresses qualms about the
                evidence for youth gender medicine. And in general, it's surely better to trust major
                medical and psychological organizations than to reflexively distrust them. But this
                particular issue is complicated and politically fraught, and I've found that often, if you
                closely examine the documents published by these organizations in support of youth
                gender medicine — or in opposition to attempts to ban it (I am also opposed to such bans)
                — they fail to adhere to basic standards of accurate science communication and rigor.
                Their biggest problem is citational mischief: They make claims, and then link those claims
                to research that doesn't actually support them.

                I'm going to do only a brief treatment here that hopefully will show why I don't take Science
                Vs's top-dogs argument seriously: All of the documents here are either irrelevant or
                contain plainly misleading citations.

                The American Medical Association document is "Health insurance coverage for gender-
                affirming care of transgender patients," an "Issue Brief coauthored by that organization
                and an organization called GLMA: Health Professionals Advancing LGBTQ E ualit :. A key
                claim in it: "Recent research demonstrates that integrated affirmative models of care for
                youths, which include access to medications and surgeries, result in fewer mental health
                concerns than has been historically seen among transgender populations." The footnote
                points to this study, this study, and this study. None of the three studies includes any
                outcome data at all. It's very bad form for the AMA — an organization that we would hope




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                                   BOEAL_WPATH_105449


                                                             79
      Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 81 of 193




                would adhere to the highest standards of evidence — to claim X, and then point to not one
                but three studies that offer no statistical evidence in support of X.

                The American Academy of Pediatrics document is "Ensuring Comprehensive Care and
                Support for Transgender and Gender-Diverse Children and Adolescents," a "Policy
                Statement" published in Pediatrics. It's written to be a general rundown of these issues for
                medical providers, and it barely touches on the evidence question. It does include the
                claim that "There is a limited but growing body of evidence that suggests that using an
                integrated affirmative model results in young people having fewer mental health concerns
                whether they ultimately identify as transgender.24,36,37" That's a strikingly similar
                sentence to the AMA/GLMA one. And sure enough, those three endnotes are... the exact
                same three citations, in the same order, as are found in the AMA document. You know, the
                ones that offer no evidence about the outcomes of kids who go through this protocol.

                I can't come up with any other explanation for the similarities in sentence structure,
                citations, and citation order between the AAP and AMA documents other than 1) the AMA
                document cribbed from the AAP document (which came out earlier), or 2) both documents
                adopted copy from some third source that was subsequently tweaked a bit. Either way,
                none of this suggests that a high level of critical, independent thinking went into these
                documents.

                The American Psychiatric Association citation points to two documents. The first is "Best
                Practices" from `A Guide for Working With Transgender and Gender Nonconforming.
                Patients." This document has nothing to do with the debate at hand — there's no mention
                of youth treatment anywhere. The "Medical Treatment and Surgical Interventions' section
                of the document, for example, deals entirely with adults, with not a puberty blocker in sight.
                So Science Vs is simply pointing us to an irrelevant citation.

                The second APA document is "Position Statement on Treatment of Transgender (Trans)
                and Gender Diverse Youth." That one includes the sentence "Trans-affirming treatment,
                such as the use of puberty suppression, is associated with the relief of emotional distress,
                and notable gains in psychosocial and emotional development, in trans and gender
                diverse youth." The citation supporting that claim points to... oh, there isn't one. Okay.

                Finally, the American Academy of Child & Adolescent Psychiatry: That document is
                "AACAP Statement Responding to Efforts to ban NO Evidence-Based Care for
                Transgender and Gender Diverse Youth." To repeat myself, I agree completely with the
                position expressed in the document (it can be true both that we don't have a lot of great




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                               BOEAL_WPATH_105450


                                                             80
      Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 82 of 193




                evidence for youth gender medicine and that having legislators ban it outright is a terrible
                idea likely to do far more harm than good), but again, there's citational mischief.

                The sentence "Research consistently demonstrates that gender diverse youth who are
                supported to live and/or explore the gender role that is consistent with their gender identity
                have better mental health outcomes than those who are not (3, 4, 5)" points to these three
                documents.

                The first is a study that can't provide any information on the question at hand (there is no
                comparison group of less-supported kids)2.

                The second document is a study concerned with a group of 245 LGBT kids (of whom only
                9% were trans) and that found, as you'll see on Tables 2 and 3, no statistically significant
                links, among those trans kids, between family support and positive outcomes on six of the
                seven measures3. (This could be a sample size thing but a lot of the effect sizes are tiny
                and one of the odds ratios, on a suicide measure, points in the wrong direction.) The third
                is a Substance Abuse and Mental Health Services Administration document prepared by
                the author of the aforementioned study. It contains a bunch of citations, including to that
                study, which, as you'll remember from five seconds ago, didn't really show a link between
                family acceptance and well-being among the tiny group of trans kids studied.

                To be clear, I'm not even skeptical of the claim that all else being equal, family support is
                generally linked to better outcomes among trans youth! I'm just saying these documents
                are written in a sloppy manner and that their citations often don't come close to justifying
                the text to which they are affixed.

                So yes, it is technically true that the "top dogs" have published documents supporting
                youth gender medicine. The quality of those documents is another story.


                Back To science vs And These Studies On Blockers And Hormones

                Like I said, Science Vs deserves credit for its transparency — it releases show transcripts
                that feature many endnotes ostensibly backing up its specific claims, which is something a
                lot of outlets don't do.

                The relevant, post-correction portion of the transcript for "Trans Kids: The Misinformation
                Battle which comes right after the "top dogs" claim, now reads:




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                               BOEAL_WPATH_105451


                                                            81
      Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 83 of 193




                   And the reason that it's not controversial is because — again — we need to look at
                   what happens if you do nothing. Like you don't allow your kid to go on hormones.
                   And just last month - a study from Seattle was published looking at just this. It had
                   followed about 100 young adults, and compared those who got this gender affirming
                   care - to trans folks who didn't.j1191And they found that while-theee-wtie-giat-this
                   tfeatme-nt-uJtjmately-f-alt-better-af                                   t-Wer-se-and
                   worsellfl And by the end of the study, those who got gender affirming care were
                   73% less likely to have thoughts of killing themselves or hurting themselves.j 1221
                   Other research suggests the same thing.1123111241[12511126]f1271[1281

                I think the revised summary of the Tordoff study is still quite misleading in light of all the
                above issues, but setting that aside, you'll see that Science Vs also cites not one but six
                other studies to justify its claim that Tordoff and her team basically just replicated an
                already-established finding. (Zukerman only mentions "allow[ing] your kid to go on
                hormones," but I think it's quite clear from context, and from the citations, that she's talking
                about both hormones and blockers. The Seattle study is itself about both, and "hormones"
                is sometimes used loosely to refer to both treatments.)

                Let's list the papers in question and label them for ease of reference:

                Study 1 [endnote 123]: Turban JL, Beckwith N, Reisner SL, Keuroghlian AS. Association
                Between Recalled Exposure to Gender Identity Conversion Efforts and Psychological
                Distress and Suicide Attempts Among Transgender Adults. JAMA
                Psychiatry.2020;77(1):68-76

                Study 2 [endnote 124]: Kuper LE, Stewart S, Preston S, Lau M, Lopez X. Body
                Dissatisfaction and Mental Health Outcomes of Youth on Gender-Affirming Hormone
                Therapy. Pediatrics. 2020 Apr;145(4):e20193006

                Study 3 [endnote 125]: de Vries AL, McGuire JK, Steensma TD, Wagenaar EC,
                Doreleiiers TA, Cohen-Kettenis PT. Young adult psychological outcome after puberty
                suppression and gender reassignment. Pediatrics. 2014 Oct:134(4):696-704

                Study 4 [endnote 126]: Costa R. Dunsford M. Skagerberg E, Holt V, Carmichael P,.
                Colizzi M. Psychological Support, Puberty Suppression, and Psychosocial Functioning in
                Adolescents with Gender Dysphoria. The Journal of Sexual Medicine. 2015
                Nov;12(11):2206-14




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                  BO EAL_WPATH_105452


                                                             82
      Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 84 of 193




                Study 5 [endnote 127]: Achille C., Taggart T., Eaton N. R., Osipoff J., Tafuri K., Lane A.,
                Wilson T. A. (2020). Longitudinal impact of gender-affirming endocrine intervention on the
                mental health and well-being of transgender youths: preliminary results. International
                Journal of Pediatric Endocrinology, 2020, 8

                Study 6 [endnote 128]: Turban JL, King D, Kobe J, Reisner SL, Keuroghlian AS. Access
                to gender-affirming hormones during adolescence and mental health outcomes among
                transgender adults. PLOS 0NE17(1): e0261039

                For each study, I'll paste the exact language Science Vs included in its show endnotes,
                which is always just a quote from the study itself, and then explain what the study actually
                shows. The links within each quote, which the producers added, point to the papers
                themselves.

                Study 1: "For transgender adults who recalled gender identity conversion efforts before
                age 10 years, exposure [to those efforts] was significantly associated with an increase in
                the lifetime odds of suicide attempts."

                This study has some pretty major flaws — I'm generally sympathetic to this letter to the
                editor critiquing it, which we'll return to a bit later in a different context — but even setting
                that aside, it has nothing to do with gender-affirming medicine, which is the issue at hand.
                It's irrelevant to this debate. (To be clear, I'm against any sort of genuine conversion
                therapy! But if you read the critique, you'll see that this study might not be accurately
                capturing the subset of kids who experienced it.)

                Study 2: "Lifetime and follow-up rates were 81% and 39% for suicidal ideation, 16% and
                4% for suicide attempt[.]"

                This is a study of kids who went through a Dallas gender clinic to obtain puberty blockers
                and/or hormones. (The New York Times' news podcast The Daily did a really good two-
                O11 series on what's going on in Texas, including the state's Republican leadership's
                disgraceful efforts to shut this clinic down —though, thankfully, a recent court order
                partially and temporarily reopened it.) There's no control/comparison group, so the
                researchers examined change over time as the cohort began taking blockers and/or
                hormones.

                The Science Vs producers' choice of quote suggests they believe this sample became less
                suicidal after going on GAM — if not, I don't know why they would include this citation and
                this quote in this context. But I'm not sure they read the paper; if they did, they'd realize




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                                  BOEAL_WPATH_105453


                                                              83
      Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 85 of 193




                they're referencing the wrong comparison. After all, what matters most is the change in
                suicidality before versus after treatment, not how either figure compares to lifetime
                suicidality.

                Here's the authors' rundown, from Table 5, "Suicidal Ideation, Suicide Attempt, and
                [Nonsuicidal Self-Injury]":




                There appears to be a minor error; assuming the chart is correct and the abstract is
                incorrect, the language in the abstract should have read "Lifetime and follow-up rates were
                81% and 3g 38% for suicidal ideation, 4515% and 4 5% for suicide attempt[.]"




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                              BOEAL_WPATH_l 05454


                                                           84
      Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 86 of 193




                If you do compare the suicide/self-harm evaluations conducted at baseline versus at
                follow-up, at first glance it appears the kids got worse, since all the numbers and
                percentages increase from the middle column to the right column. But in reading the paper
                and running it by a couple of social scientists, I couldn't quite figure out whether the
                question was asked in an apples-to-apples way that allows for comparison between the
                two time periods, so I reached out to two of the authors, Laura E. Kuper and Sunita
                Stewart, for an explanation.

                Via a spokesperson, they confirmed that no, you can't really compare the middle column to
                the right one:

                   We cannot say from these data whether there was a change in the number of youth
                   who reported suicide ideation and NSSI during the study period. The time frames of
                   comparison are not equal. The follow-up period was an average of 15 months after
                   the initial evaluation, and the time-based report at initial evaluation (the middle
                   column in the table) was for a briefer period of between 1 (for ideation and NSSI) and
                   3 months (for attempt). For this reason, no statistical comparisons would have been
                   appropriate.

                If you can't make any statistical claims about the meanings of these numbers, why include,
                in your abstract, the line "Lifetime and follow-up rates were 81% and 39% for suicidal
                ideation, 16% and 4% for suicide attempt"? I'd argue this is slightly disingenuous — call it
                a misdemeanor — because readers are likely to misinterpret this as a statistical claim, as
                a decrease caused by the medicine. (It also obscures the fact that the gap between the
                lifetime and baseline suicidality percentages is even bigger— it appears the sample's
                suicidality issues had mostly resolved by the time they got to the clinic.)

                Anyway, the point is we can't determine anything about suicidality here because the three
                columns are asking such different questions about suicidal ideation, suicide attempts, and
                nonsuicidal self-injury: whether the subjects had experienced any of these things at any
                point in their life, whether they'd experienced them in the last 1-3 months, and whether
                they'd experienced them between intake at the clinic and their follow-up appointment (a
                span that ranged from 11 to 18 months, depending on the kid). If you ask someone if
                they've done X in the last month, and then you ask them if they've done it in the last ten
                months, it's probably more likely they've done it in the last ten months simply because
                that's a much longer period of time. Contrary to what Science Vs is clearly implying, there
                isn't useful data here.




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                                 BOEAL_WPATH_105455


                                                            85
      Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 87 of 193




                What about the rest of the study's findings? It's very hard to know what to make of them, to
                be honest. I'm tempted to say this study doesn't really tell us much about whether blockers
                and hormones improve trans kids' mental health, and that maybe it can't given certain
                characteristics of the cohort. In the abstract, the researchers note: "Youth reported large
                improvements in body dissatisfaction (P < .001), small to moderate improvements in self-
                report of depressive symptoms (P < .001), and small improvements in total anxiety
                symptoms (P < .01)." "Small to moderate improvements in self-report of depressive
                symptoms" somewhat obscures the fact that measured another, more rigorous way — via
                clinician evaluation — the kids in the study did not experience an improvement in their
                depressive symptoms overtime.




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                             BOEAL_WPATH_105456


                                                           86
      Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 88 of 193




                I feel pretty strongly about favoring clinician report rather than self-report, but even if you
                disagree with me, it won't change the overall picture much. The researchers used an
                instrument called Quick Inventory of Depressive Symptomatology, which indeed has self:
                and clinician-reported versions. This papK notes that "Total QIDS scores range from 0 to
                27... with scores of 5 or lower indicative of no depression, scores from 6 to 10 indicating
                mild depression, 11 to 15 indicating moderate depression, 16 to 20 reflecting severe
                depression, and total scores greater than 21 indicating very severe depression."




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                                 BOEAL_WPATH_105457


                                                             87
      Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 89 of 193




                Whether you trust the self-report or the clinician report version more, it's the same basic
                deal in this study: The kids entered the study with "mild" depressive symptoms, they went
                on blockers or hormones, and they exited the study with... "mild" depressive symptoms.
                Yes, by self-report there was a statistically significant drop from 9.4 to 7.3, while by
                clinician report the kids went from 5.8 to 5.9 (not statistically significant), but all these
                scores are in the 6—10 "mild depression" range, and I think it's fair to ask whether even the
                self-report change is clinically significant. Depression-wise, these kids were almost fine
                and they stayed almost fine:




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                                      BOEAL_WPATH_105458


                                                              88
      Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 90 of 193




                By clinician report (on the right), a full 85% of the sample either had "not elevated" or "mild"
                depression symptoms at baseline. There wasn't much room for them to get better, so we
                can't say much about the lack of change.

                If we zoom out on Table 2, we'll see that the researchers got before and after
                measurements for nine mental health variables in total, and that the other results, too, are
                hard to interpret. Six of those variables are from the 41-item Screen for Child Anxiety
                Related Disorders (SCARED'i instrument: each kid's full score, as well as their subscores
                for panic symptoms, school avoidance, and generalized, social, and separation anxiety.

                Here's what happens if we go through the table and put green around each statistically
                significant change the "Full sample" experienced over time (the authors don't report any
                statistically significant changes among any of their subgroups), and red around every
                nonsignificant finding:




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                                BOEAL_WPATH_105459


                                                            89
      Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 91 of 193




                So out of nine variables, there were three that improved, to a statistically significant
                degree, over time. Reading from top to bottom on the table, the first was body
                dissatisfaction, where there was a genuinely sizable reduction. The second was self-
                reported depression, which we just discussed. The third is anxiety symptoms as measured
                by the SCARED scale, which went down by 3.8 points on an 82-point scale. "A total score
                of ≥ 25 may indicate the presence of an Anxiety Disorder," so the kids started above this
                cutoff (32.4, on average) and ended.. . above this cutoff (28.6), just by a smaller margin. In
                much the same way the kids started with "mild" depression symptoms and ended the study
                with "mild" depression symptoms, they started the study a bit over the "may have an




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                                 BO EAL_WPATH_105460


                                                             90
      Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 92 of 193




                anxiety disorder" threshold and they ended it in that same range. I'd ask the same
                question about clinical significance here that I did about the depression scores.

                It's tough to know what to make of the subscale variables in particular. There's just a huge
                amount of room for subjective interpretation. For something like school avoidance, where
                the kids scored a 2.6 at intake and the threshold for concern is 3 (on an eight-point scale),
                what should we make of the lack of statistically significant improvement? It's hard to do
                that much better than a 2 (say) on such a small scale. Maybe there's stronger evidence we
                should be concerned about the social anxiety disorder numbers: The cutoff there is 8 on a
                14-point scale, which is exactly what the kids scored at intake, and there was no
                statistically significant improvement overtime. This is all a pretty mixed bag, because on
                the one hand you don't really see any statistically significant drops, but on the other some
                of the baseline numbers were low enough so that there isn't much room for improvement.

                In light of this, an honest skeptic of the claim that youth gender medicine improves trans
                kids' mental health should acknowledge that the nonsignificant results are hard to interpret
                and not always so damning; similarly, an honest believer in this claim should acknowledge
                that there isn't much here to support their opinion. Unless you engage in cherry-picking, I
                don't think this study provides anything close to clear evidence one way or the other.

                I am very glad the Dallas team is doing this research and wish many more American
                gender clinics, who are embarrassing laggards when it comes to producing useful data,
                would follow their lead (while we're on the subject, I wish Republicans didn't pose
                existential threats to youth gender clinics). But it's an oversimplification to say that this
                study offers real evidence blockers and hormones improve kids' mental health. If you're
                going to make that claim, where's the impressive improvement and why's there so much
                red in that chart above? If your response to that is, "Well, the kids didn't have much room
                to improve," then you shouldn't have claimed that they did in the first place!

                Maybe the studies get clearer? Maybe there's higher-quality and more impressive
                evidence forthcoming?

                Study 3: 11251, After gender reassignment, in young adulthood, the GD [gender
                dysphoria] was alleviated and psychological functioning had steadily improved."

                In some circles this is simply known as the "Dutch study." It's that important and well-
                known, and I've referenced it as some of the best evidence we have for the efficacy of




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                 BO EAL_WPATH_105461


                                                             91
      Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 93 of 193




                these treatments. It's definitely the best study cited by Science Vs, and it shows by young
                adulthood, the kids in this cohort had solid mental health.

                So it should tell us something that even here, there are some pretty big questions. They're
                well summed up by this article in the Journal of Sex & Marital Therapy by Stephen B.
                Levine, E. Abbruzzese, and Julia W. Mason:

                   While the Dutch reported resolution of gender dysphoria post-surgery in study
                   subjects, the reported psychological improvements were quite modest. Of the 30
                   psychological measurements reported, nearly half showed no statistically significant
                   improvements, while the changes in the other half were marginally clinically
                   significant at best. The scores in anxiety, depression, and anger did not improve. The
                   change in the Children's Global Assessment Scale, which measures overall function,
                   was one of the most impressive changes—however it too remained in the same
                   range before and after treatment. [citations omitted]

                The "Dutch approach," at least as it was practiced during the time period covered by this
                2014 study, involved careful screening of subjects. Back then this protocol was truly novel,
                and the clinicians really were interested only in giving blockers and hormones, followed by
                surgery, to young people with long, persistent histories of childhood gender dysphoria who
                didn't have other major problems with mental or physical health, or lackluster family
                support, that might stymie their transitions. They thought these were the young people who
                had the best chance of living happy, healthy lives as trans adults. They also discouraged
                childhood social transition, because in their experience most kids' gender dysphoria
                dissipated as puberty approached (the Dutch approach is designed to put kids on a
                medical track once it appears clear the GD is unlikely to desist).

                As a result, the study has some of the same issues as the last one: The kids in this cohort
                who went on blockers and hormones, and who later received surgery, started out rather
                mentally healthy, which means, again, they didn't have much room to get better, which
                makes these results difficult to apply to the present debate. For example, the authors note
                that the Beck Depression Inventory, which they administered to their subjects, has a
                scoring range of "21 items, 0-3 range," or 0-63 for the total score. At baseline, the kids in
                the study had a BDI score of 7.89, which sits in the range of "These ups and downs are
                considered normal."




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                              BO EAL_WPATH_105462


                                                            92
      Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 94 of 193




                Levine and his coauthors flatly argue that "The study cannot be used as evidence that
                these procedures have been proven to improve depression, anxiety, and suicidality." It's
                hard to dispute that — the subjects weren't depressed or anxious at baseline, and
                suicidality wasn't even measured, so how could the study offer such evidence? It's good
                that the subjects' mental health didn't worsen over time, and certainly it would be a bad
                sign if kids going through these treatments suddenly developed new mental health
                problems, but this cohort can't really tell us much about whether GAM will improve the
                mental health of kids who are in anguish.




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                            BO EAL_WPATH_105463


                                                            93
      Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 95 of 193




                One of the genuinely impressive-seeming findings is that the Dutch subjects' high-at-
                baseline gender dysphoria "was alleviated" at follow-up. But there's a catch there, too,
                according to Levine and his coauthors. It involves the measure the researchers used, the
                Utrecht Gender Dysphoria Scale:

                   This 12-item scale, designed by the Dutch to assess the severity of gender dysphoria
                   and to identify candidates for hormones and surgeries, consists of "male" and
                   "female" versions. At baseline and after puberty suppression, biological females were
                   given the "female" scale, while males were given the "male" scale. However, post-
                   surgery, the scales were flipped: biological females were assessed using the "male"
                   scale, while biological males were assessed on the "female" scale. We maintain that
                   this handling of the scales may have at best obscured, and at worst, severely
                   compromised the ability to meaningfully track how gender dysphoria was affected
                   throughout the treatment. [citations omitted]

                So after the trans boys went on blockers, took testosterone, and had double
                mastectomies, they were given an instrument with prompts like "My life would be
                meaningless if I had to live as a boy"; "I hate myself because I am a boy"; and "It would be
                better not to live than to live as a boy." It would be shocking if someone who put this much
                effort into transitioning to a boy/man answered these questions in the affirmative. This
                seriously calls into question one of the best results the Dutch team got:




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                             BO EAL_WPATH_105464


                                                           94
      Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 96 of 193




                Another problem is that this research doesn't control for the effects of counseling or
                pharmaceuticals. This is a cohort of young people who were in contact with a
                multidisciplinary gender clinic for years, and who had regular access to counseling, so it
                stands to reason that at least some of the improvements they experienced might be
                attributable to factors separate from blockers, hormones, and surgery (the previous study I
                wrote about, out of Dallas, did adjust for these variables). Clearly the Dutch clinicians
                themselves thought these factors bolstered their clients' mental health, or they wouldn't
                have made regular counseling a prerequisite for transitioning. The study doesn't account
                for that, leaving us to speculate about the role of factors distinct from youth gender




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                               BO EAL_WPATH_105465


                                                            95
      Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 97 of 193




                medicine itself, including simply getting older: The average age at first assessment was
                13.6, and the average age of final assessment was 20.6. A lot of people's mental health
                improves on its own during this particular seven-year span. (During other seven-year
                spans, like, say, 7 to 14, people's mental health is more likely to worsen. Puberty is a hell
                of a thing!)

                It's worth pausing here to note just how much more conservative the Dutch approach is
                than what is presently favored by the most enthusiastic American activists and clinicians,
                including two of the voices interviewed in the Science Vs segment (Jack Turban and
                Florence Ashley). While I understand why people latch on to one of the few solid-quality
                studies we have, even setting aside the aforementioned methodological challenges, it is a
                stretch to claim that because the Dutch got some pretty good results, their research is
                applicable to American clinics dedicated to far less "gatekeeping." (I don't like using that
                word in the context of minors, since adults have a responsibility to gatekeep, but that's the
                common terminology.)

                The Dutch approach is absolutely out of fashion in many American youth gender clinics.
                There are no zoomed-out data on how these clinics go about their business, because no
                one has bothered to try to gather any (not an easy task, to be fair), but if you look around
                at the clinicians who have big online platforms, get quoted in major outlets, etc., you will
                see that they continually emphasize the need for clinicians and parents to engage in less
                gatekeeping and more trusting tweens and teens to know accurately what medical
                treatments are best for them. There are some who clearly support more careful, Dutch-
                style multidisciplinary approaches that include a lot of psychological assessment — Laura-
                Edwards Leeoer and Erica Anderson are the two most famous examples — but this is not
                the trajectory of things in the States at all.

                On a related note, there's some evidence that the profile of kids seeking youth gender
                medicine is changing. In fact, writing in Pediatrics in 2020, the 2014 study's lead author,
                Annelou de Vries, raised the question of "whether the positive outcomes of early medical
                interventions also apply to adolescents who more recently present in overwhelming large
                numbers for transgender care, including those that come at an older age, possibly without
                a childhood history of [gender incongruity/dysphoria]." The same could be said of what
                appears to be a growing number of kids who arrive at gender clinics with complicated
                psychological comorbidities. Since a kid who lacked childhood GD or who had serious
                psychological problems (or both) would have been disqualified outright from the 2014




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                               BOEAL_WPATH_l 05466


                                                                 96
      Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 98 of 193




                Dutch study, that study is likely inapplicable to these different populations of kids going on
                blockers and hormones today, and to clinics that follow different procedures.

                I'll leave it at that — I did find Levine and his coauthors' article to be an informative and
                thoughtful example of youth gender medicine skepticism. Overall, once you acknowledge
                the caveats, the Dutch study does show that a cohort of very carefully screened gender
                dysphoric kids with a lot of family and mental health support who went on blockers and
                hormones, and who got surgery, appear to have been doing pretty well in early adulthood.
                I just don't think the results can be used to support or attack Zukerman's claim in light of
                the sample biases. I also don't think this finding really matches Science Vs's stance on the
                issue of youth gender medicine more broadly, because, based on the show's work in this
                area, it seems highly unlikely it would ever discourage social transition, or would support "a
                comprehensive psychological evaluation with many sessions over a longer period of time"
                prior to the commencement of any physical interventions, as the Dutch described their
                protocol.

                Study 4: "[126] At baseline, GD adolescents showed poor functioning with a CGAS
                [Children's Global Assessment Scale] mean score of 57.7 ± 12.3. GD adolescents' global
                functioning improved significantly after 6 months of psychological support (CGAS mean
                score: 60.7 ± 12.5; P < 0.001). Moreover, GD adolescents receiving also [sic] puberty
                suppression had significantly better psychosocial functioning after 12 months of GnRHa
                [puberty blockers] (67.4 ± 13.9) compared with when they had received only psychological
                support (60.9 ± 12.2, P = 0.001)."

                This isn't good. As the Oxford sociologist and frequent critic of youth gender medicine
                research Michael Biggs pointed out in a letter to The Journal of Sexual Medicine, which
                also published this study, the methodology here is completely incapable of isolating the
                effects of puberty blockers and hormones.

                The authors, based at the world-famous Gender Identity Development Service (GIDS) in
                Great Britain, adopted a version of the Dutch approach that's quite heavy on psychological
                assessment and addressing transition-readiness concerns (though it looks like far more of
                the kids in this sample had already socially transitioned than in the Dutch one). Again, I
                don't think Science Vs really supports this approach.

                The main problem with drawing any conclusions from this study is that the researchers
                compared one group of kids who started puberty blockers relatively soon after entering the
                study with another that didn't start blockers at all during the study (they did later) because,




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                                BO EAL_WPATH_105467


                                                             97
      Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 99 of 193




                in the views of the assessing clinicians, they were experiencing "possible comorbid
                psychiatric problems and/or psychological difficulties."




                The two groups were never the same at baseline — one had psychological problems the
                other didn't. At baseline, the psychologically worse-off group scored a bit lower on the
                study's main measure, the Children's Global Assessment Scale, than the psychologically
                better-off group, though the difference wasn't statistically significant (the researchers didn't
                administer other scales, such as ones measuring anxiety or depression symptoms, that
                seem likely to have revealed other differences between the groups). Then, at the end of




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                BO EAL_WPATH_105468


                                                             98
      Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 100 of 193




                the study, after one group but not the other had been on blockers for awhile... the same
                deal: The group with the psychological problems scored a bit worse-off, but the difference
                wasn't statistically significant, "possible [sic] because of sample size," explain the authors.

                The sample size is fairly low by the end of the study in part because about 65% of the
                subjects disappear along the way, with no explanation from the authors about this giant
                drop-off. The apparent dropouts are distributed almost exactly evenly between the
                blockers and no-blockers groups, so we don't have the differential attrition rate concerns
                we had in the study out of Seattle I wrote about in April, but the overall rate is still quite
                high:




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                                  BO EAL_WPATH_105469


                                                              99
      Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 101 of 193




                You can't have your sample shrink by 65% and then offer no explanation as to why that
                happened!

                Sample size and other issues aside, while the statistically insignificant difference in the
                CGAS scores of the blockers and no-blockers groups did widen slightly between the
                penultimate and final assessment points, there's no way to evaluate what role puberty
                blockers played in this result, simply because one group — but not the other — was also
                dealing with apparently serious mental health problems. On top of all that, the researchers
                didn't account statistically for access to counseling, meaning we can't even say with




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                               BOEAL_WPATH_105470


                                                           100
      Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 102 of 193




                certainty that the blockers, rather than the counseling, could at least partially explain the
                overall CGAS improvement overtime, which after all was seen both in the blockers and
                non-blockers groups. (The authors do note that simply "getting older has been positively
                associated with maturity and well-being," and that that could be a factor here.)

                Biggs pointed out an additional red flag to me: One of the primary measures the
                researchers use is the aforementioned Utrecht Gender Dysphoria Scale also employed by
                the Dutch. The researchers note that this was one of their measures, provide the baseline
                data, and then... poof. The UGDS disappears from the paper. We never find out what the
                follow-up numbers were. Why? Surely the point of administering this scale was to track the
                severity of gender dysphoria over time? It seems very unlikely to me that if they got
                impressive results they wouldn't have reported them, though on the other hand if they're
                seeking to hide their UGDS results, why mention having administered the scale at all? This
                is just very weird and amateurish science, to mention the scale, provide the baseline
                readings, and then sort of wander off to look at a butterfly. I emailed coauthor Rosalia
                Costa on June 3 to ask about this, and then nudged her on June 6, adding Polly
                Carmichael, but I didn't hear back. (I'd also be remiss if I didn't point out that another, more
                recent study of GIDS patients coauthored by Carmichael 3me out in 2021 in PLOS ONE,
                and it found no over-time improvements on any mental health measures among a subset
                of kids who went on blockers. This paper goes uncited by Science Vs.)

                Wendy Zukerman's claim, you'll recall, was about "what happens if you do nothing. Like
                you don't allow your kid to go on hormones." Meaning: They will suffer. One way to
                interpret this study is that it offers no evidence for or against her claim because the core
                comparison is so broken. Another interpretation — one that's less charitable but
                technically correct — is that this study directly contradicts Zukerman:




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                               BOEAL_WPATH_105471


                                                            101
      Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 103 of 193




                The red line — representing kids who sought blockers but weren't able to access them
                during this time period — goes up. It is at a higher point at Time 3 than it is at Time 0
                (though all the statistically significant improvement happens from TO to T1). So what
                happens if you don't let kids go on blockers in this study? On the one measure of these
                kids' psychological well-being where the researchers bother reporting their follow-up data,
                they get better.

                To be crystal clear, I am not endorsing the idea of capriciously withholding puberty
                blockers from kids with severe and persistent gender dysphoria. I'm simply pointing out




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                                  BOEAL_WPATH_105472


                                                           102
      Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 104 of 193




                how silly it is to cite this study in support of the idea that if you do withhold these
                treatments, terrible things will happen. This study doesn't show that.

                Study 5:1'1271 Between 2013 and 2018, 50 participants (mean age 16.2 + 2.2 yr) who
                were naïve to endocrine intervention completed 3 waves of questionnaires. Mean
                depression scores and suicidal ideation decreased overtime while mean quality of life
                scores improved overtime."

                This quote is from the "Results" section of this paper's abstract. Let's look at the entire
                paragraph in question, with the part that Science Vs didn't include in its notes bolded:

                   Between 2013 and 2018, 50 participants (mean age 16.2 + 2.2 yr) who were naïve to
                   endocrine intervention completed 3 waves of questionnaires. Mean depression
                   scores and suicidal ideation decreased over time while mean quality of life scores
                   improved overtime. When controlling for psychiatric medications and
                   engagement in counseling, regression analysis suggested improvement with
                   endocrine intervention. This reached significance in male-to-female
                   participants.

                So when the researchers, to their credit, controlled for the stuff that should be controlled
                for, endocrine interventions (meaning blockers and hormones) weren't linked to any
                statistically significant improvements among female-to-male participants — a full two-thirds
                of the sample (33 female-to-male, 17 male-to-female, say the researchers).

                Here's a table laying that out, looking at three psychological scales the researchers used
                to measure the well-being of the study's subjects:




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                                BOEAL_WPATH_105473


                                                             103
      Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 105 of 193




                The researchers made 12 statistical comparisons, and a grand total of one of them came
                back statistically significant by the traditional P < .05 threshold, while four more
                approached that threshold. And there is almost nothing on the right side of the table
                offering any evidence that these powerful medical treatments benefited the mental health
                of the female-to-male transitioners, once access to counseling and pharmaceuticals were
                taken into account.

                For transparency's sake, I should note that the authors have an explanation for their weak
                findings: "Given our modest sample size, particularly when stratified by gender, most




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                              BO EAL_WPATH_105474


                                                            104
      Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 106 of 193




                predictors did not reach statistical significance. This being said, effect sizes (R2) values
                were notably large in many models. In [male-to-female] participants, only puberty
                suppression reached a significance level of p< .05 in the [Center for Epidemiologic Studies
                Depression Scale Revised]. However, associations with [Patient Health Questionnaire 9-
                item] and [Quality of Life, Enjoyment, and Satisfaction Questionnaire — Short Form] scores
                approached significance. For [female-to-male] participants, only cross sex hormone
                therapy approached statistical significance for quality of life improvement (p = 0.08)."

                I'm glad the researchers broke things out by natal sex — it's ridiculous that so many youth
                gender medicine researchers continue to fail to do so given that testosterone and estrogen
                are completely different substances with completely different effects (more on this in a bit).
                But once they did, they were left with almost no evidence these treatments helped. I guess
                there are a few promising blips on the male-to-female side, but among the female-to-male
                transitioners who made up two-thirds of this study? There's basically no evidence that they
                benefited at all from blockers or hormones. In this sample, by these methods, on average
                they would have been just as well off solely receiving counseling and medication (if
                indicated) for their mental health symptoms.

                Let's imagine Science Vs were evaluating a study not of puberty blockers and hormones,
                but of a novel treatment for coronavirus promoted by Joe Rogan. Let's also imagine that
                the authors of that study published a study evaluating the treatment in which they argued,
                "Well, we didn't reach statistical significance in most of our tests, but we had a small
                sample size. Plus, there are some potentially promising results in a subgroup that
                comprised one-third of our sample." It goes completely without saying that Science Vs
                would describe this as a weak finding that should nudge us toward skepticism, not
                acceptance, of the treatment in question. Why do different standards apply here?

                Interestingly, this is the second time I've seen a major, respected, cut-through-the-bullshit
                science outlet treat this study in a strikingly credulous manner — Steven Novella and
                David Gorski commited a similar error on their website, Science-Based Medicine, which
                has had its own Nordberg-in-the-opening-scene-of- The-Naked-Gun-level issues covering
                this subject accurately. It should tell us something that when it comes to the youth gender
                medicine debate, some of the leading, supposedly skeptical voices are making the exact
                same sorts of mistakes in the exact same direction, over and over and over. They never
                make mistakes the other way — they never falsely understate the strength of the evidence
                for puberty blockers and hormones.




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                                 BOEAL_WPATH_105475


                                                           105
      Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 107 of 193




                I already covered the suicidal ideation claim from this paper when I wrote about SBM's
                coverage. Yes, the researchers themselves note in the abstract that "[S]uicidal ideation
                decreased over time," but right there in the paper they also note that "Regression models
                for suicidal thoughts were not estimable due to the low frequency of endorsement and
                small cell sizes across gender."

                There was just so little suicidal ideation here that there's no way to make the appropriate
                statistical comparisons:




                So this paper provides no causal evidence about the effects of blockers and hormones on
                reducing suicidal ideation.

                Study 6: "t1281 Jack Turban's paper— After adjusting for potential confounders, accessing
                GAH during early adolescence (aOR = 0.4, 95% CI = 0.2-0.6, p < .0001), late
                adolescence (aOR = 0.5, 95% CI = 0.4-0.7, p < .0001), or adulthood (aOR = 0.8, 95% CI
                = 0.7-0.8, p < .0001) was associated with :ewer odds of past-year suicidal ideation when
                compared to desiring but never accessing GAH. [GAH = gender affirming hormones]"

                I'm going to go deep on this PLOS ONE paper because it's very recent (January of this
                year), very influential, and I have some new developments to report about it.




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                             BOEAL_WPATH_l 05476


                                                          106
      Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 108 of 193




                Turban and his colleagues' method, both here and in another highly touted study they
                published in Pediatrics in 2020, is to take the subset of 2015 U.S. Transgender Survey
                respondents who recalled having ever wanted puberty blockers or hormones, and to then
                compare the mental health of those who recalled having accessed them to those who
                recalled never having done so. (The 2020 study covers blockers and this one covers
                hormones.)

                There are many reasons to be skeptical that the USTS can provide us with any
                generalizable data about trans people in the U.S. This is a very nonrepresentative sample
                that wildly differs from past attempts to generate decent data about the American
                transgender population (which, to be clear, is no easy task).

                Here's a chart from the letter to the editor I mentioned earlier critiquing Turban et al.'s
                conversion therapy paper, which was also based on the USTS. In it, the authors note the
                differences between the trans people surveyed in the USTS and those included in the
                2014 to 2017 data from the Behavioral Risk Factor Surveillance System BRFSS , a more
                rigorously conducted effort administered by the Centers for Disease Control and
                Prevention:




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                                BOEAL_WPATH_105477


                                                            107
      Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 109 of 193




                There are some gigantic differences here on crucial questions like age (the USTS skews
                very young compared to the BRFSS, with 84% of the respondents in the former and just
                52% in the latter aged 18 to 44) and education (the USTS skews much more educated,
                with 47% college/technical school graduates in that sample versus 14% in the BRFSS).

                The authors of the critique of Turban and his colleagues' conversion therapy paper argue,
                credibly, that these differences may have arisen because "the participants [in the USTS]
                were recruited through transgender advocacy organizations and subjects were asked to




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                          BOEAL_WPATH_105478


                                                         108
      Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 110 of 193




                `pledge' to promote the survey among friends and family." This claim jibes with the survey
                administrators' own description of their outreach efforts.

                So there's a serious risk that the USTS skews heavily toward younger, more politically
                engaged, more highly educated members of the trans community. In much the same way
                sampling Jewish Americans at Chabad houses or black Americans at NAACP meetings
                definitely wouldn't provide you with data you could safely extrapolate to the broader Jewish
                or black populations, something similar is almost certainly going on with the USTS.

                The authors of the letter also highlight issues that go beyond mere sampling concerns:

                   A number of additional data irregularities in the USTS raise further questions about
                   the quality of data captured by the survey. A very high number of the survey
                   participants (nearly 40%) had not transitioned medically or socially at the time of the
                   survey, and a significant number reported no intention to transition in the future. The
                   information about treatments received does not appear to be accurate, as a number
                   of respondents reported the initiation of puberty blockers after the age of 18 years,
                   which is highly improbable (Biggs, 2020). Further, the survey had to develop special
                   weighting due to the unexpectedly high proportion of respondents who reported that
                   they were exactly 18 years old. These irregularities raise serious questions about the
                   reliability of the USTS data.

                If anything, the authors are understating the puberty blockers issue. As the USTS
                researchers explain in an endnote:

                   Although 1.5% of respondents in the sample reported having taken puberty-blocking
                   medication, the percentage reported here reflects a reduction in the reported value
                   based on respondents' reported ages at the time of taking this medication. While
                   puberty-blocking medications are usually used to delay physical changes associated
                   with puberty in youth ages 9—16 prior to beginning hormone replacement therapy, a
                   large majority (73%) of respondents who reported having taken puberty blockers in
                   Q.12.9 reported doing so after age 18 in Q.12.11. This indicates that the question
                   may have been misinterpreted by some respondents who confused puberty blockers
                   with the hormone therapy given to adults and older adolescents. Therefore, the
                   percentage reported here (0.3% or "less than 1%") represents only the 27% of
                   respondents who reported taking puberty-blocking medication before the age of 18.




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                              BOEAL_WPATH_105479


                                                           109
      Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 111 of 193




                In other words, so many respondents wrongly said they took puberty blockers that the
                test's architects simply had to toss the vast majority of the affirmative responses to this
                question. Okay. Why should we trust that everyone else in the survey had a firm grasp on
                which medication they had taken? And why should we trust that when people said they
                wanted blockers or hormones, they weren't mixing up the two? No one will say, but
                researchers keep publishing studies based on this data set, perhaps because there are so
                few options for big samples of American trans people. I think there's a case to be made
                that the USTS data set is simply too broken to tell us much of anything about trans people
                in the U.S., but I'll leave that question to the survey methods experts (if you are one, I'm
                genuinely curious to get your thoughts).

                Either way, it's hard to count all the red flags inherent to Turban and his colleagues'
                methodology. Obviously, the problem with USTS respondents not knowing accurately what
                medicine they took is potentially crippling on its own, because if we can't even verify that
                the people who said they took a medicine did so, how can we say anything about that
                medicine's effects on them? It's also problematic to assume that because someone
                reports having ever wanted puberty blockers or hormones — the survey item on which this
                entire methodology hinges — it was a persistent and realistic desire. That question is
                phrased: "Have you ever wanted any of the health care listed below for your gender
                identity or gender transition? (Mark all that apply)" [bolding in the original]. If a USTS
                respondent selected "puberty blocking hormones" because at age 24, long after they were
                eligible for blockers, they went through a phase when they thought maybe their life would
                have turned out better if they'd gone on them, they'd be entered into the wanted-blockers
                "pile" and treated as equivalent to someone who wanted blockers at 13. These are very
                different situations, though. Nothing in the USTS even tracks whether the kids who wanted
                blockers or hormones had gender dysphoria, which is the most basic prerequisite for going
                on these medications, at least in the case of competent clinicians who follow the
                appropriate standards of care. (I don't understand why the survey would collect data from
                respondents on whether they'd been diagnosed with HIV but not ask about gender
                dysphoria, or gender identity disorder as it was probably known at the time for most of the
                respondents. It seems important, for many reasons, to try to establish what percentage of
                people who identify as trans are seeking out and receiving these diagnoses.)

                On top of all this is the causality issue — after the publication of Turban et al.'s USTS-
                based Pediatrics study ostensibly showing a link between recalled access to blockers and
                better mental health, a number of critics noted that it simply could be that young people




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                                BOEAL_WPATH_105480


                                                           110
      Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 112 of 193




                with more mental health problems were less likely to be allowed to access blockers,
                because during the time period in question it was quite common for American clinicians to
                follow professional guidance instructing them to reject kids for such medication on the
                basis of uncontrolled, ongoing mental health problems (like the Dutch did). If this theory is
                true, it would mean that poor mental health caused a lack of access to blockers (that is,
                poor mental health —> skeptical clinician following the rules and turning down a request for
                blockers —> no blockers), rather than that a lack of access to blockers caused poor mental
                health. The new study in PLOS ONE supposedly addresses this by concerning itself
                mostly with past-month rather than lifetime mental health problems, but the broader point
                stands: It's extremely hard to make unidirectional causal claims on the basis of this data.

                In their studies, Turban and his team tend to dutifully note that the differences they derive
                from USTS data-slicing could be attributed to other factors as well, and that it is difficult to
                establish clear causal relationships between recalled access to youth gender medicine and
                later outcomes. But inevitably, Turban will then give quotes to major outlets, or write
                articles for them, in which he presents his results as straightforwardly causal —to the
                extent the got-medicine group did better, it was because they got medicine. For example,
                Turban wrote in The Washington Post that "at least 14 studies have examined the impact
                of gender-affirming care on the mental health of youths with gender dysphoria and have
                shown improvements in anxiety, depression and suicidality," and "suicidality" links to the
                PLOS ONE paper about hormones. (For the record, Turban's "14 studies" link, to this
                article he wrote in Psychology Today, also reports the details of those studies rather
                selectively, in my opinion, leaving out some vital caveats and weaknesses.)

                So, in short and even before we dig into any of the details, Turban et al.'s PLOS ONE
                study is based on a likely nonrepresentative data set of young people who don't seem to
                know what medicine they were on and when, who might not know what medicine they
                wanted and when, and it relies entirely on self-reported assessments of their mental
                health. Moreover, many, including Turban, have simply assumed that certain correlations
                uncovered via this method were driven by causation, despite there being little reason to
                make this assumption. Again, imagine a study with these characteristics being used to
                prop up an alternative Covid treatment: Science Vs would be like a vulture that had just
                spotted a seriously ailing buffalo.

                But let's assume, for the sake of argument, that none of these red flags exist. Let's
                summon all the charity and benefit of the doubt we can muster and imagine this is a




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                                BOEAL_WPATH_105481


                                                            111
      Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 113 of 193




                clinical sample where we know, for sure, who went on which medicine and when, and that
                we are therefore in a somewhat better position to accept causal claims.

                That in mind, here's what the Turban team said they found:




                For everything that follows, let's stick to the adjusted odds ratio (AoR) and accompanying
                P-values. Outlined in green is the finding that Turban and his team highlight in their write-
                up, and that Science Vs mentions in its show notes: Among respondents who reported
                ever wanting hormones, those who recalled receiving them reported a lower probability of
                past-year suicidal ideation than those who did not recall receiving them.




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                              BO EAL_WPATH_105482


                                                           112
      Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 114 of 193




                The actual question, from Section 16 of the USTS: "At any time in the past 12 months did
                you seriously think about trying to kill yourself?" The respondents who answered yes were
                then prompted to answer questions gauging the seriousness of their suicidal ideation:
                whether they had a specific plan for ending their life, whether their suicidality required
                medical attention, and whether they ended up in the hospital as a result. This is standard
                practice, because suicide experts recognize a pretty big, potentially life-and-death
                difference between someone who reports having considered suicide and someone who
                develops a specific plan to commit it. (I volunteered at a suicide hotline forever ago and we
                were supposed to triage people in this manner as early in the call as possible by asking if
                they were suicidal, and then, if they were, following up with questions about whether they
                had a plan and, if they did, if they already had in their possession whatever items they
                would need to carry it out, such as a gun or a knife.)

                If someone answered yes to the USTS question "At any time in the past 12 months did you
                seriously think about trying to kill yourself?" but reported having never made a plan, let
                alone an attempt, they'd be considered to be at a more moderate risk of suicide than
                someone who answered yes to those follow-up questions. That obviously doesn't mean
                any such assessment would be foolproof, and of course the stakes here are terrifyingly
                high, but the point is there are important gradations when it comes to suicidal ideation. (I
                wanted to make sure I wasn't downplaying the severity of a situation like this, so I reached
                out to a suicide researcher I know. She helpfully pointed me to this resource from the
                organization Zero Suicide, which is adapted from the VA's Rocky Mountain Mental Illness
                Research Education and Clinical Center (MIRECC) for Suicide Prevention, and which
                suggests that a young person in this situation would probably be placed in the "low acute
                risk" category.)

                Outlined in red are the results that go ignored by Turban et al. in their write-up, and also
                by Science Vs: Turban and his team ran eight statistical tests on these more serious
                measures of suicidal ideation and behavior and went zero-for-eight in terms of hitting their
                P < .001 threshold for statistical significance (they beefed it up from the standard P < .05
                to account for all the comparisons they're making, which is good practice in general). In
                almost every case, the coefficients hover around 1.0, which strongly suggests there's just
                no link at all, among those who reported wanting to access hormones, between having
                recalled accessing them and having even a slightly lower risk of serious recent suicidal
                behavior or ideation. The cell that comes closest to hitting the significance threshold
                suggests that those who recalled wanting hormones and accessing them at age 16 or 17




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                                BOEAL_WPATH_105483


                                                           113
      Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 115 of 193




                were more than twice as likely to report having been hospitalized for a suicide attempt as
                those who recalled wanting but not accessing hormones. Whether or not you buy the idea
                that we should disregard this .01 P-value, there's nothing here to suggest any promising
                findings with regard to a link between hormone access and the more serious measures of
                suicidal ideation and behavior.

                One would think that enthusiastic advocates for administering gender-affirming medicine to
                young people would be concerned about these null results, but as far as I can tell the
                authors haven't mentioned them anywhere, despite the extensive publicity the paper — or,
                perhaps specifically, one row of a seven-row chart — garnered. (See my March
                tweetstorm on this study here.) None of this is mentioned in the body of the paper itself.

                Now, on the other other hand, the kids in the got-hormones group reported less past-
                month severe psychological distress than those in the non-hormones group as measured
                by another binary variable: whether they met a certain threshold on the Kessler 6
                Psychological Distress Scale. So it's not like there's nothing in this study pointing in the
                direction Turban and his team want — it's just that when it comes to the most serious
                measures, the findings are concerningly barren. (Readers of my April post will also
                remember that reporting continuous variables dichotomously is an easy way for important
                features of data to get obscured — by this standard, a two-point improvement on a 25-
                point scale that crosses a certain threshold can sometimes register as more meaningful
                than a ten-point improvement that doesn't.)

                In much the same way Turban and his team simply pretend these null findings don't exist,
                Science Vs does the same. The average pop science consumer isn't going to pull the
                study to check for themselves, so, mission accomplished: A bunch of people will think this
                study found impressive results for GAM, when in fact it's a mixed bag at best and, by the
                researchers' own methods and logic, runs counter to the claim commonly made by Turban
                and others that these medications are crucial for reducing serious suicidality and suicide
                attempts by transgender and gender nonconforming youth.

                We can't depart this study without making one more very important stop: this comment left
                on the PLOS ONEwebsite by Michael Biggs, the aforementioned Oxford sociologist, and
                PLOS ONE's response to it. Using the USTS data, Biggs attempted to replicate the Turban
                team's findings as best as he could in light of the fact that the authors did not include
                sufficient statistical information in their paper for him to do so. Biggs notes that the study's
                authors "have twice previously not replied to my requests to provide their command files,"




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                  BO EAL_WPATH_105484


                                                            114
      Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 116 of 193




                and confirmed in an email to me that this concerned prior studies they published, and that
                he didn't bother trying a third time for this study.

                Biggs found a pretty straightforward statistical irregularity in the PLOS ONE study:

                   There are odd discrepancies between the raw frequencies reported by Turban et al.
                   and the USTS dataset. According to the authors, 119 respondents reported
                   beginning cross-sex hormones at age 14 or 15. But for the question 'At what age did
                   you begin hormone treatment' (Q12.10), 27 respondents answered at age 14, and 61
                   answered at age 15, summing to 88. How did the authors obtain an additional 31
                   observations? It is not due to the imputation of missing values because the authors
                   drop observations with missing values; the same procedure is followed here.

                Biggs also notes that Turban's team includes access to puberty blockers in their statistical
                models, but doesn't report on that result. Biggs found that "Controlling for other variables,
                having taken puberty blockers has no statistically significant association with any outcome.
                This reveals that Turban et al.'s earlier finding from the USTS — which did not control for
                cross-sex hormones — is not robust." So Turban appears to have called into question his
                own prior finding about puberty blockers, but this doesn't garner even a brief mention in his
                paper. (Biggs also notes that Turban and his colleagues failed to control for other variables
                associated, at least in some studies, with enhanced well-being among trans people, such
                as access to gender-affirming surgery.)

                But dwarfing all of these issues is what happened when Biggs broke out the results by
                natal sex:

                   Testosterone is consistently associated with better outcomes. Estrogen is associated
                   with a lower probability of severe distress, but also with a higher probability of
                   planning, attempting, and being hospitalized for suicide. The latter outcome is
                   particularly disturbing: males who took estrogen have almost double the adjusted
                   odds of a suicide attempt requiring hospitalization.

                If Biggs is correct, then the data here provide an even more conflicting storyline — one in
                which a lot of the results aren't just null, but point in the exact wrong direction. Turban and
                his team, by their own reasoning, would be forced to conclude that estrogen is dangerous
                for trans women from a suicidality perspective. (I'm not endorsing this view because I think
                the USTS and this methodology are both such messes that these studies don't really tell
                us anything causal about the effects of gender-affirming medicine — I'm saying if you do




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                               BOEAL_WPATH_105485


                                                             115
      Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 117 of 193




                accept these methods, data, and reasoning, you're forced to take the good with the bad.)
                Either Turban's team didn't bother to check this, they did and then failed to report on these
                alarming results, or Biggs is incorrect.

                This is potentially a big deal, especially considering the way Turban, the Stanford
                University hospital where he was then doing his residency, and so many media outlets
                have touted this study as solid evidence that access to hormones reduces suicidality. If
                Biggs is correct and accessing estrogen was in fact linked to "a higher probability of
                planning, attempting, and being hospitalized for suicide," that absolutely requires further
                explanation from the authors. I emailed PLOS ONE and three of the study's authors —
                Turban, Sari L. Reisner, and Alex S. Keuroghlian —to ask about this. I got a quick
                response from a PLOS ONE media associate saying, "I can see that you have reached out
                to the authors, and I hope they will be able to respond to you soon," but after I didn't hear
                back from the authors themselves, I followed up with the journal again.

                I heard back from a senior communications associate, who told me that PLOS ONE is
                going to be examining Biggs' claims. He also pointed me toward a newly posted "Editor's
                Note" which reads "PLOS ONE is looking into the questions raised about this article. We
                will provide an update when we have completed this work." I've asked Turban for his
                team's code in the meantime, and according to PLOS ONEpolicv he's required to provide
                it (haven't heard back yet). The code will only be so useful without the raw data, which is
                unfortunately obtainable only via a data-sharing agreement with the The National Center
                for Transgender Equality, but it would be a start. While it would be nice to figure out what's
                up with that statistical discrepancy, I think the most important thing, by far, is simply to
                confirm whether Biggs is correct about what happens when these results are separated by
                natal sex. If he is correct, I would argue that that would require immediate action on the
                part of the authors of this study to get the word out about what would be — if you buy their
                logic— an extremely alarming finding. We'll see how long the process takes and what
                results PLOS ONE will be willing to provide afterward. (If you're a researcher who has
                experience working with this type of data and you want to try to get your hands on it,
                please let me know.)

                If Biggs is correct, the sex-disaggregated results would call into question even the
                seemingly positive findings on the female-to-male side. Because, as he notes,
                testosterone has established antidepressant properties (Biggs cites this meta-analysis,
                though for understandable reasons it includes only studies conducted on natal males), it
                would be very hard to suss out what's what here. Even assuming causality flows the way




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                                BO EAL_WPATH_105486


                                                            116
      Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 118 of 193




                Turban's team wants it to, did the trans men in this study experience improvement
                because of the specific nature of gender-affirming medical treatment, or because anyone
                — particularly someone dealing with preexisting mental health problems — would feel
                better from regularly taking T?


                Summing Things Up

                Science Vs viewed Tordoff et al. (2022) as a mere replication of something we already
                know: that puberty blockers and cross-sex hormones are linked to improved mental health
                in trans kids. This, the show argued, is not controversial. And, according to host Wendy
                Zukerman, "[T]he reason that it's not controversial is because — again — we need to look
                at what happens if you do nothing. Like you don't allow your kid to go on hormones." Bad
                things happen to their mental health — potentially dangerous things.

                To support this view, Zukerman and her colleagues cited seven studies in total. For
                reasons ranging from complete irrelevance to the question at hand to broken comparison
                groups to genuinely unimpressive results, I'd argue that there is not a single study in the
                bunch that strongly supports Zukerman's claim that a failure to put trans kids and youth on
                blockers or hormones causes harm, nor that any of them clearly support the related claim
                that blockers and/or hormones cause significantly improved mental health in trans kids and
                youth.

                To be clear, I continue to think that for well-assessed kids with consistent histories of
                severe gender dysphoria, the trade-offs of blockers and hormones are likely worth the
                risks and unknowns, though of course in the case of any medical decision as serious as
                this one and underpinned by so little quality evidence, the adults involved need to proceed
                with a tremendous amount of caution and humility (two qualities in short supply among so
                many of the most popular and media-friendly advocates for youth gender medicine). The
                fact that these seven studies don't provide much evidence, and that there's a dearth of
                such evidence in general, shouldn't be the end of the conversation. There's a difference
                between saying, "These studies don't demonstrate any meaningful link between trans kids
                failing to access gender-affirming medicine and experiencing harmful outcomes" and
                "There's no chance that it will be harmful to a trans kid if they can't access blockers or
                hormones." We desperately need more and better data, but it should tell us something that
                this was the best Science Vs could come up with.




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                                  BOEAL_WPATH_105487


                                                           117
      Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 119 of 193




                It shouldn't surprise anyone that, upon actually examining these studies rather than
                skimming abstracts or headlines, it's impossible to reach the conclusion that there's "no
                controversy" here. Whenever professional researchers — folks who are much smarter and
                better resourced than I am — have taken more ambitious, comprehensive looks at the
                evidence for youth gender medicine, they've found exactly the same thing I found in this
                mini-exercise: methodologically weak studies with mixed findings.

                As I pointed out in my April post, this has happened in several different European contexts:

                   "Any potential benefits of gender-affirming hormones must be weighed against the
                   largely unknown long-term safety profile of these treatments in children and
                   adolescents with gender dysphoria," said the UK's National Institute for Health and
                   Care Excellence in 2020, alongside a companion report on puberty blockers that
                   found scant quality evidence of their safety and efficacy as well. The so-called ''ass
                   Review, another important UK effort geared at summarizing the data and steering the
                   future course of youth gender treatment there, which was released just weeks ago in
                   interim form, noted that "The important question now, as with any treatment, is
                   whether the evidence for the use and safety of the medication is strong enough as
                   judged by reasonable clinical standards." As in, it's still an open question. The report
                   also notes that "Short-term reduction in bone density is a well-recognised side effect
                   [of puberty blockers], but data is weak and inconclusive regarding the long-term
                   musculoskeletal impact."

                   In Sweden and Finland, health authorities are sufficiently concerned about the lack of
                   evidence that it's safe and effective to give puberty blockers and hormones to gender
                   dysphoric minors that they have significantly scaled back the administration of these
                   treatments. According to an unofficial translation of Finland's new guidelines,
                   announced in 2020, "puberty suppression treatment may be initiated on a case-by-
                   case basis after careful consideration and appropriate diagnostic examinations if the
                   medical indications for the treatment are present and there are no contraindications."
                   When Sweden followed suit, instituting new restrictions of its own just a month and a
                   half ago, its National Board of Health and Welfare noted that "There are no definite
                   conclusions about the effect and safety of the treatments," per Google Translate.
                   Sweden's move was animated in part by an alarming alleged scandal — this public
                   television documentary argues that doctors and administrators at a major hospital
                   there appeared to cover up serious adverse effects, including a spinal injury and




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                              BOEAL_WPATH_105488


                                                           118
      Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 120 of 193




                   suicidality, among kids who had undergone these treatments (I interviewed the lead
                   presenter here but it's paywalled).

                I don't want to belabor the point but it should be seen as quite damning — as a major
                abdication of the staff's responsibility as science journalists — that Science Vs told an
                audience of God knows how many hundreds of thousands or millions of people that there's
                no controversy here (and that Jack Turban said the same thing, for that matter). It's
                infuriating that they would hold over parents' heads the threat of their kids killing
                themselves despite not appearing to have much familiarity with the research they
                themselves are citing.


                Science Vs Is Intentionally Choosing To Adopt Less Rigorous Standards On Youth
                Gender Medicine Than It Does On Other Subjects


                Perhaps the weirdest and most frustrating part of this is that Science Vs clearly has the
                capacity to look closely at studies rather than accept them at face value on the basis of the
                stuff that all experienced science journalists know to take with a grain of salt: abstracts,
                press releases, and enthusiastic quotes from researchers motivated to make a media
                splash. The producers definitely did so in this episode on coronavirus misinformation. Hell,
                earlier in this very episode about youth gender medicine, they harshly criticize Lisa
                Littman's work on "rapid-onset gender dysphoria" (the idea that some kids develop GD or
                a trans identity suddenly, as a result of peer or cultural influence) by... actually reading her
                study and critiquing it on methodological grounds. Terms like "selection bias" and
                "representative sample" come up.

                Setting aside the potentially derailing question of whether this critique of Littman's work is
                fair, the point is Science Vs's producers could have, if they'd so chosen, actually read the
                papers supposedly touting the mental health benefits of youth gender medicine with the
                same critical eye they regularly apply to findings they view more skeptically, like Littman's,
                or those supporting "alternative" coronavirus treatments. They just chose not to. Or at least
                that's what I'm claiming. One June 1, I emailed Zukerman and the show's general contact
                address a polite but admittedly slightly obnoxious email in which I point-blank asked
                whether the show's producers had read the papers they were citing beyond their abstracts,
                and I didn't hear back. I simply don't think it's possible that they could have read them in
                full and then cited them the way they did.




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                               BOEAL_WPATH_105489


                                                             119
      Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 121 of 193




                If I'm correct and Science Vs didn't read these papers before confidently citing them, why?
                Why didn't they approach them with as critical an eye? I can't say for sure, but I think the
                dynamics are similar to what I wrote about in April: Because Republicans are so
                aggressively and harmfully targeting youth gender medicine, taking a true rocket-launcher-
                against-a-butterfly approach to this issue, the response from some liberal institutions has
                been to circle the wagons and argue aggressively that actually, the science on this is
                settled. This despite the fact that it's very widely known, among serious scientists and
                observers of this controversy, that the science isn't settled. At all.

                This sort of bungling is a pattern for Science Vs. Back in 2019, I wrote two posts, pegged to
                an episode of the show called "The Science Of Being Transgender" That time around, the
                producers accidentally fabricated a study result and falsely claimed that the DSM-IV
                "list[ed] transgender as a mental disorder," which it didn't (this is a common claim among
                some activists because it would help them win a fairly in-the-weeds argument you can
                read more about if you click the above links). Zukerman and the producers corrected the
                first error but not the second — to this day, if you go to the transcript you'll see that
                Science Vs continues to make that claim about the DSM-IV. (At the time, Zukerman
                explained in an email that she and her colleagues disagreed with my interpretation, and
                attached this document from the American Psychiatric Association as supporting evidence.
                It discusses some of the reasoning behind the switch from "gender identity disorder" in the
                DSM-IV to "gender dysphoria" in the DSM-5, which included tweaks both to the name and
                the diagnostic criteria, but it doesn't come close to supporting Science Vs's claim that in
                the older edition, merely being transgender was considered a mental illness.)

                At the end of the day, I think Science Vs just isn't willing to take this issue as seriously as
                the other issues it covers. It's a politically risky issue to take seriously, after all, because if
                you do, and you come to the same conclusion as the many credible researchers who have
                found the literature on youth gender medicine to be strikingly shaky, you'll likely be
                accused of harming trans kids. I've had people tell me I am complicit in the grisly suicides
                of children — and sometimes demand I kill myself as penance — simply because I apply
                the same standards of rigor to this body of medical research as I previously applied to
                power posing and grit and Comprehensive Soldier Fitness and the implicit association test
                in my past reporting and book. This is a very unpleasant thing to be accused of, even if the
                accusation itself is deranged.

                But the whole point of Science Vs is to "take[ ] on fads, trends, and the opinionated mob to
                find out what's fact, what's not, and what's somewhere in between." This mission




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                                   BOEAL_WPATH_105490


                                                              120
      Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 122 of 193




                statement gets pretty hollow if you tack on at the end: "unless it feels very uncomfortable
                to do so and/or it will make unhinged people on Twitter mad at you."

                Anyway, I can only speculate about the strange divide between how Science Vs covers
                this issue versus how it covers others. But I'm not speculating when I say that the show
                has botched its coverage, even as it has railed, hypocritically, against "alternative" sources
                of science news on this and other subjects. The producers should really do some more
                careful follow-up work on this. They should really buckle down with the existing literature
                on youth gender medicine and imagine that they're evaluating papers claiming that the
                CDC is hiding something about the adverse effects of coronavirus vaccines, rather than
                that they're evaluating new research on a solidly established, well-replicated finding.

                They should also consider the likely effect their shoddy coverage is going to have on
                consumers' media consumption habits. Anyone who spends 10 minutes Googling around
                will find the public controversy over these treatments raging in Europe — it isn't exactly a
                secret. If institutions like Science Vs (or Science-Based Medicine, or Science Friday, or...
                won't give readers and listeners honest, accurate assessments of the data on this
                absolutely vital question — a question that involves very vulnerable kids being put on
                powerful medicines that often have irreversible effects, with the logic being that this is the
                only way to prevent them from literally killing themselves — who's left to trust?

                You can't have it both ways: You can't fail to do your job this profoundly and then complain
                when people turn to other, less reputable sources for their science news.




                Questions? Comments? Other red-hot controversies that are completely uncontroversial?
                I'm at singalrninded@gmaiLcorn or on Twitter at egiessesinoal.

                Image: A boy is dancing under the big rainbow flag, during the celebration of the Pride
                walk in Amsterdam, on August 7th, 2021. (Photo by Romy Arroyo Fernandez/NurPhoto via
                Getty Images)

                1

                For the purposes of this article, I'm setting aside Zukerman's next sentence: "Ya see, over
                and over again we're see [sic] that trans folks who don't get treatment and aren't




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                                BOEAL_WPATH_105491


                                                           121
      Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 123 of 193




                supported — higher rates of attempting suicide and suicidal thoughts41291[1301" Both
                citations point to survey research that focuses on parental support, and neither survey
                appears to have asked respondents about whether they have accessed gender-affirming
                medicine. This article is about the evidence base for GAM, so these citations aren't
                relevant.

                2

                The authors do mention, in the context of comparing their cohort to others, clinical samples
                of kids with gender dysphoria (GD), some of whom were living as their natal sex at the
                time. But of course you cannot compare clinical and nonclinical samples and then attribute
                any differences to any variable in particular— especially in a case like this where the
                clinical samples generally come from other countries entirely.

                3

                I was also surprised by the scale the researchers used to gauge parental support, which
                included items like "How often did any of your parents/caregivers bring you to an LGBT
                youth organization or event?" and "How often did any of your parents/caregivers
                appreciate your clothing or hairstyle, even though it might not have been typical for your
                gender?" A parent who is quietly supportive of their kid wearing their hair however the hell
                they want, or who is working too much to be around to compliment it, would be rated as
                unsupportive. Same deal for a parent running a household out of a trailer with insufficient
                space to entertain guests, or who lacks the automobile or time to take their kid to anything.
                There appears to be a major potential class confound here that would probably be worth
                looking into further.


                Subscribe to Singal-Minded

                By Jesse Singal • Thousands of paid subscribers

                A newsletter about science, social-justice-activism, why they sometimes fight, and how to
                help them get along better -- plus a good deal of other, more random stuff.




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                             BOEAL_WPATH_105492


                                                          122
      Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 124 of 193




                         Eli Coleman, PhD.
                          Academic Chair in Sexual Health
                          Professor
                          and Director
                          The Institute for Sexual and Gender Health
                          University of Minnesota Medical School
                          Family Medicine and Community Health
                          sexualhealth.umn.edu




                    Eli Coleman, PhD.
                    Academic Chair in Sexual Health
                    Professor
                    and Director
                    The Institute for Sexual and Gender Health
                    University of Minnesota Medical School
                    Family Medicine and Community Health
                    sexualhealth.umn.edu




                                             VUmc disclaimer : VVVVW.VUMC.nl/disclaimer
                                              AMC disclaimer www.amc.nl/disclaimer




                  Eli Coleman, PhD.
                  Academic Chair in Sexual Health
                  Professor and Director
                  The Institute for Sexual and Gender Health
                  University of Minnesota Medical School
                  Family Medicine and Community Health
                  sexualhealth.umn.edu




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                BOEAL_WPATH_105493


                                                                   123
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 125 of 193




                                  124
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 126 of 193




                                  125
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 127 of 193




                                  126
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 128 of 193




                                  127
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 129 of 193




                                  128
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 130 of 193




                                  129
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 131 of 193




                                  130
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 132 of 193




                                  131
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 133 of 193




                                  132
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 134 of 193




                                  133
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 135 of 193




                                  134
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 136 of 193




                                  135
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 137 of 193




                                  136
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 138 of 193




                                  137
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 139 of 193




                                  138
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 140 of 193




                                  139
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 141 of 193




                                  140
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 142 of 193




                                  141
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 143 of 193




                                  142
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 144 of 193




                                  143
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 145 of 193




                                  144
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 146 of 193




                                  145
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 147 of 193




                                  146
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 148 of 193




                                  147
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 149 of 193




                                  148
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 150 of 193




                                  149
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 151 of 193




                                  150
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 152 of 193




                                  151
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 153 of 193




                                  152
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 154 of 193




                                  153
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 155 of 193




                                  154
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 156 of 193




                                  155
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 157 of 193




                                  156
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 158 of 193




                                  157
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 159 of 193




                                  158
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 160 of 193




                                  159
    Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 161 of 193




C


                                      160
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 162 of 193




                                  161
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 163 of 193




                                  162
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 164 of 193




                                  163
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 165 of 193




                                  164
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 166 of 193




                                  165
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 167 of 193




                                  166
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 168 of 193




                                  167
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 169 of 193




                                  168
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 170 of 193




                                  169
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 171 of 193




                                  170
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 172 of 193




                                  171
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 173 of 193




                                  172
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 174 of 193




                                  173
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 175 of 193




                                  174
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 176 of 193




                                  175
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 177 of 193




                                  176
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 178 of 193




                                  177
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 179 of 193




                                  178
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 180 of 193




                                  179
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 181 of 193




                                  180
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 182 of 193




                                  181
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 183 of 193




                                  182
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 184 of 193




                                  183
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 185 of 193




                                  184
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 186 of 193




                                  185
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 187 of 193




                                  186
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 188 of 193




                                  187
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 189 of 193




                                  188
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 190 of 193




                                  189
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 191 of 193




                                  190
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 192 of 193




                                  191
Case 2:22-cv-00184-LCB-CWB Document 560-30 Filed 05/27/24 Page 193 of 193




                                  192
